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                      EXHIBIT B
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                                                                                                      USOO6907305B2

(12) United States Patent                                                            (10) Patent No.:               US 6,907.305 B2
       Mata et al.                                                                   (45) Date of Patent:                      Jun. 14, 2005

(54) AGENT REACTIVE SCHEDULING IN AN                                                   6,202,062 B1     3/2001 Cameron et al. .............. 707/3
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(75) Inventors: SERE Six                                                               6,434,443 B1 * 8/2002 Lin ...........             ... 700/100
                                s
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(*) Notice:           Subject to any disclaimer, the term of this                 U.S. Appl. No. 10/331,596, filed Dec. 30, 2002, Barto et al.
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                      U.S.C. is154(b)
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                                      by 0 or adjusted under 35
                                           days.                                  U.S.
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(21) Appl. No.: 10/135,145                                                        U.S. Appl. No. 10/232,145, filed Aug. 30, 2002, Barto et al.
(22) Filed:     Apr. 30, 2002                                                     U.S. Appl. No. 10/231,930, filed Aug. 30, 2002, Barto et al.
(65)                 Prior Publication Data                                       U.S. Appl. No. 10/231,888, filed Aug. 30, 2002, Barto et al.
                                                                                  U.S. Appl. No. 10/231,849, filed Aug. 30, 2002, Barto et al.
        US 2004/0243266 A1 Dec. 2, 2004
(51) Int. Cl. ................................................ G06F 19/00                                 (Continued)
(52) U.S. Cl. ......................... 700/99: 700/100; 700/121;
                                                            705/8                 Primary Examiner Jayprakash N. Gandhi
(58) Field of Search ................................ 705/8; 700/99,              (74) Attorney, Agent, or Firm Williams, Morgan &
                                                700/100, 121, 101                 AmerSon, P.C.
(56)                   References Cited                                           (57)               ABSTRACT
                 U.S. PATENT DOCUMENTS                                            A method and apparatus for Scheduling in an automated
                                                                                  manufacturing environment, comprising are disclosed. The
       E. A                1/1989 Atherton al... 364/468                          method includes detecting an occurrence of a predetermined
       53. A                 E. Exit et al. . . . . . . . . . . . . . . . 3.      event in a proceSS flow; notifying a Software Scheduling
       5,375,061 A       12f1994 Hara et al... 364/468                            agent of the occurrence, and reactively Scheduling an action
       5.444,632 A        s/1995 Kinect al... 70/100                              from the Software Scheduling agent responsive to the detec
       5.446-671 A    8/1995 Weaver et al. .............. 700/100                 tion of the predetermined event. The apparatus is automated
       5,548,535 A    8/1996 Zvonar .................. 364/551.01                 manufacturing environment including a process flow and a
       5,586,021. A 12/1996 Fargher et al. ........ 364/468.06                    computing System. The computing System further includes a
       5.835,688 A * 11/1998 Fromherz .................. 358/1.13                 plurality of Software Scheduling agents residing thereon, the
       5,890,134 A    3/1999 Fox ............................... 705/9            Software Scheduling agents being capable of reactively
       E. A               9/1999 Clark et al. tal.". 364/t                        Scheduling appointments for activities in the process flow
       CS3. A             32: My et al. . . . . . . . . . . .7o,                  responsive to a plurality of predetermined events.
       6.128,542 A       10/2000 Kristoffet al..                     ... 700/97
       6,148.239 A       11/2000 Funk et al. .................... 700/1                         53 Claims, 6 Drawing Sheets

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                                                                                                                265
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                                                                                   USER INTERFACE           :
                                                                                     SOFTWARE
                                                                                                                28O
                                                                                  AMHS SOFTWARE
                                                                                   COMPONENT(S)
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                -          -   '''''''''''''''/      OPERATING SYSTEM                  265
                                                      SOFTWARE AGENT                   27O
                                                      ... .   .
                                                                  S. . . . . . . . .   255

                                                                                       28O
                    /              7        ; :       AMHS SOFTWARE
                                                       COMPONENT(S)
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  Case 6:20-cv-01214-ADA-DTG Document 1-2 Filed 12/31/20 Page 8 of 32


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   BEFORE
    SHIFT




   BEFORE
    SHIFT

   LOT        -                                   APP,
   LOT,                            APP,
           --        - SHIFT
  LOT,
  AFTER
   SHIFT

              tC


                          FIG. 6B
  Case 6:20-cv-01214-ADA-DTG Document 1-2 Filed 12/31/20 Page 9 of 32


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     AGENT REACTIVE SCHEDULING IN AN                               Simultaneously being manufactured. AS each wafer moves
       AUTOMATED MANUFACTURING                                     through the Semiconductor factory (or, “fab'), it may
              ENVIRONMENT                                          undergo more than 300 processing Steps, many of which use
                                                                   the Same machines. A large factory may contain approxi
    The United States Government has a paid-up license in          mately 500 computer-controlled machines to perform this
this invention and the right in limited circumstances to           wafer processing. Routing, Scheduling, and tracking mate
require the patent owner to license others on reasonable           rial through the fab is a difficult and complicated task, even
terms as provided for by the terms of Award No.                    with the assistance of a computerized factory control Sys
70NANB7H3041 awarded by the United States Department               tem.
of Commerce, National Institute of Standards and Technol              Efficient management of a facility for manufacturing
ogy (“NIST).                                                      products Such as Semiconductor chips requires monitoring
                                                                  various aspects of the manufacturing process. For example,
           BACKGROUND OF THE INVENTION                            it is typically desirable to track the amount of raw materials
   1. Field of the Invention                                      on hand, the Status of work-in-proceSS and the Status and
                                                               15 availability of machines and tools at every Step in the
   This invention pertains to automated manufacturing process. One of the most important decisions is Selecting
environments, and, more particularly, to Scheduling in an which lot should run on each machine at any given time.
automated manufacturing environment.                              Additionally, most machines used in the manufacturing
   2. Description of the Related Art                              process require Scheduling of routine preventative mainte
   Growing technological requirements and the Worldwide nance (“PM”) and equipment qualification (“Qual')
acceptance of Sophisticated electronic devices have created procedures, as well as other diagnostic and reconditioning
an unprecedented demand for large-scale, complex, inte procedures that must be performed on a regular basis. These
grated circuits. Competition in the Semiconductor industry procedures should be performed Such that they do not
requires that products be designed, manufactured, and mar impede the manufacturing process itself.
keted in the most efficient manner possible. This requires 25 One approach to this issue implements an automated
improvements in fabrication technology to keep pace with “Manufacturing Execution System” (“MES”). An auto
the rapid improvements in the electronics industry. Meeting mated MES enables a user to view and manipulate, to a
these demands Spawns many technological advances in limited extent, the Status of machines and tools, or “entities,”
materials and processing equipment and Significantly in a manufacturing environment. In addition, an MES per
increases the number of integrated circuit designs. These mits dispatching and tracking of lots or work-in-process
improvements also require effective utilization of computing through the manufacturing process to enable resources to be
resources and other highly Sophisticated equipment to aid, managed in the most efficient manner. Specifically, in
not only design and fabrication, but also the Scheduling, response to MES prompts, a user inputs requested informa
control, and automation of the manufacturing process.             tion regarding work-in-proceSS and entity Status. For
   Turning first to fabrication, integrated circuits, or 35 example, when a user performs a PM on a particular entity,
microchips, are manufactured from modern Semiconductor the operator logs the performance of the PM (an “event”)
devices containing numerous Structures or features, typically into an MES screen to update the information stored in the
                                                                  MES database with respect to the status of that entity.
the size of a few micrometers. The fabrication proceSS Alternatively,
generally involves processing a number of wafers through a 40                      if an entity is to be put down for repair or
Series of fabrication tools. Layers of materials are added to,    maintenance,    the operator will log this information into the
removed from, and/or treated on a Semiconducting Substrate MES            database, which then prevents use of the entity until it
during fabrication to create the integrated circuits. The is Subsequently logged back up.
fabrication essentially comprises the following four basic           Although MES systems are sufficient for tracking lots and
operations:                                                       machines, Such Systems Suffer Several deficiencies, the most
   layering, or adding thin layers of various materials to a obvious         of which are their passive nature, lack of advance
                                                               45
                                                                  Scheduling and inability to Support highly automated factory
      wafer from which a Semiconductor is produced;               operations. Current MES Systems largely depend on manu
   patterning, or removing Selected portions of added layers, facturing perSonnel for monitoring factory State and initiat
   doping, or placing Specific amounts of dopants in Selected ing activities at the correct time. For example, a lot does not
      portions of the wafer through openings in the added 50 begin processing until a wafer fab technician (“WFT)
      layers, and                                                 issues the appropriate MES command. And, prior to
   heat treating, or heating and cooling the materials to processing, a WFT must issue an MES command to retrieve
      produce desired effects in the processed wafer.             the lot from the automated material handling System
Although there are only four basic operations, they can be (“AMHS) with sufficient advance planning that the lot is
combined in hundreds of different ways, depending upon the 55 available at the machine when the machine becomes avail
particular fabrication process. See, e.g., Peter Van Zant, able. If the WFT does not retrieve the lot soon enough, or
Microchip Fabrication A Practical Guide to Semiconductor neglects to initiate processing at the earliest available time,
Processing (3d Ed. 1997 McGraw-Hill Companies, Inc.) the machine becomes idle and production is adversely
(ISBN 0-07-067250-4). Each fabrication tool performs one impacted.
or more of four basic operations. The four basic operations 60 These types of deficiencies in the typical automated MES
are performed in accordance with an overall process to emphasize the importance of the WFT in the efficient
finally produce the finished Semiconductor devices.               operation of the manufacturing process. WFTS perform
   Controlling a Semiconductor factory fabricating Such inte many vital functions. For instance, WFTs initiate
grated circuits, however, is a challenging task. A Semicon dispatching, transport, and processing as their attention and
ductor factory (“fab') is a complex environment where 65 time permits. They make Scheduling decisions Such as
numerous parts, typically 40,000 waferS or more, and whether to run an incomplete batch, as opposed to waiting
numerous part types, typically 100 part types or more, are for additional approaching lots, or performing PM or quali
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                                                  US 6,907,305 B2
                            3                                                                4
fication procedures instead of processing lots. WFTS per        the occurrence, and reactively Scheduling an action from the
form non-value added MES transactions and utilize conven        Software Scheduling agent responsive to the detection of the
tional factory control Systems that are passive. In this        predetermined event. Alternative embodiments include a
context, the term "passive” means activities in the control     computing System programmed to perform this method and
system must be initiated by the WFT, as opposed to being        a computer-readable program Storage medium encoded with
Self-starting or Self-initiating.                               instructions to implement this method. In Still another
   However, the presence of WFTs also inevitably intro embodiment, the invention includes automated manufactur
duces Some inefficiencies. There typically is a large differ ing environment, comprising a process flow and a comput
ence between the performance of the best WFT and the ing System. The computing System further includes a plu
performance of the worst WFT. A WFT typically simulta rality of Software Scheduling agents residing thereon, the
neously monitors the processing of multiple tools and lots, Software Scheduling agents being capable of reactively
making it difficult to focus on an individual lot or tool. Scheduling appointments for activities in the process flow
Furthermore, the size and complexity of the modern fabri responsive to a plurality of predetermined events.
cation process flows makes it exceedingly difficult for a             BRIEF DESCRIPTION OF THE DRAWINGS
WFT to foresee and prevent downstream bottlenecks or 15
Shortages arising from upstream activities. Shift changes,        The invention may be understood by reference to the
rest breaks, and days off for the WFT also create inefficien following description taken in conjunction with the accom
cies or machine idle time that adversely impact the manu panying drawings, in which like reference numerals identify
facturing process flow. Just as the importance of the WFT is like elements, and in which:
magnified by the deficiencies of the automated MES, so are        FIG. 1 conceptually depicts a portion of one particular
the inefficiencies of the WFT magnified by his importance. embodiment of a proceSS flow constructed and operated in
   Thus, factory control Systems utilized in today's wafer accordance with the present invention;
fabs are passive and do not enable a high degree of auto          FIG. 2 conceptually depicts, in a partial block diagram,
mation. These systems are very dependent on WFTs and Selected portions of the hardware and Software architectures,
other factory staff to monitor the state of the factory, to 25 respectively, of the computing devices in FIG. 1;
continuously react to change, to make rapid logistical            FIG. 3 conceptually depicts one particular implementa
decisions, and to initiate and coordinate factory control tion of the apparatus of FIG. 1, i.e., in a portion of a process
activity in a timely manner. These WFTS are agents, pro
Viding the active element that is lacking in factory control flow    from a Semiconductor fabrication facility, and the
                                                                manner in which it Schedules appointments for the consump
Systems. As a result, factory effectiveness in the highly tion of resources,
competitive Semiconductor industry is quite dependent on
the availability, productivity, skill level, and consistency of   FIG. 4 conceptually depicts a calendar of booked appoint
these human agents. WFTS must monitor and operate a ments,
number of tools located in various bays in a fab. They are        FIG. 5 conceptually illustrates three related calendars of
forced to multiplex acroSS tools, bays, material handling 35 booked appointments,
Systems and a variety of factory control Systems. As a fab's      FIG. 6A and FIG. 6B conceptually illustrates the changing
production ramps and more complex processes are of booked appointments to take advantage of early Start
introduced, it becomes more difficult to meet the increased     times, and
complexity and Volume without increasing Staff or System            FIG. 7A and FIG. 7B conceptually illustrate two circum
capabilities. WFTs visibility of upstream and downstream 40 stances in which booked appointments are changed to
operations, tool State, work-in-proceSS and resource avail accommodate unexpectedly long durations for preceding
ability is limited.                                              booked appointments.
   However, key logistical decisions are frequently based on       While the invention is susceptible to various modifica
this limited and dated information, which is only partially tions and alternative forms, specific embodiments thereof
provided by factory control systems. WFTS spend a signifi 45 have been shown by way of example in the drawings and are
cant amount of time interacting with Systems, monitoring herein described in detail. It should be understood, however,
factory events and State changes, and performing other that the description herein of Specific embodiments is not
non-value added functions, Such as MES logging. Shift intended to limit the invention to the particular forms
changes disrupt the operation of the fab as the technicians disclosed, but on the contrary, the intention is to cover all
are temporarily unable to provide required monitoring and 50 modifications, equivalents, and alternatives falling within
coordination. Despite the best efforts of the technicians, the Spirit and Scope of the invention as defined by the
utilization of tools Suffer, adversely impacting other key appended claims.
factory metrics including cycle time, inventory levels, fac                  DETAILED DESCRIPTION OF THE
tory output and mix. With the need for intrabay material                                INVENTION
handling to transport 12-inch wafers in new 300 mm wafer 55
fabs, Significant additional complexity is introduced. Con          Illustrative embodiments of the invention are described
ventional factory control Systems are not capable of provid below. In the interest of clarity, not all features of an actual
ing this level of detailed Scheduling and execution control. implementation are described in this specification. It will of
   The present invention is directed to resolving, or at least course be appreciated that in the development of any Such
reducing, one or all of the problems mentioned above.         60 actual embodiment, numerous implementation-Specific

             SUMMARY OF THE INVENTION
                                                                 decisions must be made to achieve the developerS Specific
                                                                 goals, Such as compliance with System-related and busineSS
   The invention, in its various aspects and embodiments, is related constraints, which will vary from one implementa
a method and apparatus for Scheduling in an automated tion to another. Moreover, it will be appreciated that Such a
manufacturing environment. In one embodiment, a method 65 development effort, even if complex and time-consuming,
comprises detecting an occurrence of a predetermined event would be a routine undertaking for those of ordinary skill in
in a process flow; notifying a Software Scheduling agent of the art having the benefit of this disclosure.
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   FIG. 1 conceptually illustrates a portion of one particular        in Some alternative embodiments, a processor or controller
embodiment of a process flow 100 constructed and operated             embedded in the process tool 115. The invention also is not
in accordance with the present invention. The process flow            limited to UNIX-based operating systems. Alternative oper
100 fabricates semiconductor devices. However, the inven              ating systems (e.g., WindowsTM-, LinuxTM-, or disk operat
tion may be applied to other types of manufacturing pro               ing system (“DOS”)-based) may also be employed. The
cesses. Thus, in the process flow 100 discussed above, the            invention is not limited by the particular implementation of
lots 130 of wafers 135 may be more generically referred to            Such features in the computing device 110.
as “work pieces.” The process tools 115 and any process                 The computing device 110 also includes a processor 205
operations performed thereon need not necessarily be related          communicating with storage 210 over a bus system 215. The
to the manufacture of Semiconductor devices in all embodi             Storage 210 typically includes at least a hard disk (not
ments. However, for the sake of clarity and to further an             shown) and random access memory (“RAM”) (also not
understanding of the invention, the terminology pertaining            shown). The computing device 110 may also, in Some
to Semiconductor fabrication is retained in disclosing the            embodiments, include removable Storage Such as an optical
invention in the context of the illustrated embodiments.              disk 230, or a floppy electromagnetic disk 235, or some
   The illustrated portion of the process flow 100 includes 15 other form, Such as a magnetic tape (not shown) or a Zip disk
two stations 105, each station 105 including a computing (not shown). The computing device 110 includes a monitor
device 110 communicating with a process tool 115. The 240, keyboard 245, and a mouse 250, which together, along
stations 105 communicate with one another over commu           with their associated user interface software 255 comprise a
nications links 120. In the illustrated embodiment, the               user interface 260. The user interface 260 in the illustrated
computing devices 110 and the communications links 120 embodiment is a graphical user interface (“GUI”), although
comprise a portion of a larger computing System, e.g., a this is not necessary to the practice of the invention.
network 125. The process tools 115 in FIG. 1 are processing     Each computing device 110 includes, in the illustrated
lots 130 of wafers 135 that will eventually become inte embodiment, a Software agent 265 residing in the Storage
grated circuit devices. The process flow 100 also includes 210. Note that the software agents 265 may reside in the
portions of a MES and an automated materials handling 25 process flow 100 in places other than the computing devices
system (“AMHS”), neither of which is shown for the sake of 110. The situs of the software agent 265 is not material to the
clarity, and other integrated factory controls. The AMHS practice of the invention. Note also that, Since the Situs of the
“handles” the lots 130 and facilitates their transport from Software agents 265 is not material, Some computing devices
one station 105 to another, as well as other locations in the 110 may have multiple software agents 265 residing thereon
process flow 100.                                             while other computing devices 110 may not have any. Thus,
   AS mentioned above, the computing devices 110 may be there need not be a one-to-one correspondence between the
part of a larger computing System 125 by a connection over computing devices 100 and the process tools 115. Software
the communications linkS 120. Exemplary computing Sys component(s) 270, 280 of an automated MES, such as
tems in Such an implementation would include local area WORKSTREAMTM, and of an AMHS, respectively, also
networks (“LANs”), wide area networks (“WANs”), system 35 reside on at least one computing device 110. AS with the
area networks ("SANs”), intranets, or even the Internet. The          software agent(s) 265, the software components 270, 280
computing System 125 employs a networked client/server may reside anywhere within the process flow 100.
architecture, but alternative embodiments may employ a            Referring now to FIG. 1 and FIG. 2, the software agents
peer-to-peer architecture. Thus, in Some alternative 265 each represent Some "manufacturing domain entity,”
embodiments, the computing devices 110 may communicate 40 e.g., a lot 130, a process tool 115, a resource, a PM, or a
directly with one another. The communications links 120 Qual. A process tool 115 may be a fabrication tool used to
may be wireless, coaxial cable, optical fiber, or twisted wire fabricate Some portion of the waferS 135, i.e., layer, pattern,
pair links, for example. The computing System 125, in dope, or heat treat the wafers 135. Or, the process tool 115
embodiments employing one, and the communications links may be a metrology tool used to evaluate the performance of
120 will be implementation specific and may be imple 45 various parts of the process flow 100. The software agents
mented in any Suitable manner known to the art. The 265, collectively, are responsible for efficiently scheduling
computing System 125 may employ any Suitable communi and controlling the lots 130 of wafers 135 through the
cations protocol known to the art, e.g., Transmission Control fabrication process. In furtherance of these objectives, the
Protocol/Internet Protocol (“TCP/IP”).                         Software agents 265 interface with the software components
   FIG. 2 depicts selected portions of the hardware and 50 270, 280 of the MES and AMHS, respectively, and are
Software architectures of the computing devices 110. Some integrated with other existing factory control Systems (not
aspects of the hardware and Software architecture (e.g., the          shown). The Software agents 265, where appropriate, also
individual cards, the basic input/output system (“BIOS"),             interface with the process tools 115 and other equipment
input/output drivers, etc.) are not shown. These aspects are          through a Software implemented “equipment interface'
omitted for the Sake of clarity, and So as not to obscure the 55 (“EI”) (not shown). As will be apparent to those skilled in
present invention. AS will be appreciated by those of ordi the art having the benefit of this disclosure, the manner in
nary skill in the art having the benefit of this disclosure, which this interface and integration occurs is implementa
however, the Software and hardware architectures of the          tion specific, depending upon the makeup and configuration
computing devices 110 will include many Such routine of the MES, the AMHS, and the other factory control
features.                                                        60   Systems.
   In the illustrated embodiment, the computing device 110      Of particular interest to the present invention, the Software
is a WorkStation, employing a UNIX-based operating System agents 265 reactively Schedule, initiate, and execute activi
200, but the invention is not so limited. The computing ties on behalf of their respective manufacturing domain
device 110 may be implemented in virtually any type of entities. In the illustrated embodiment, the Software agents
electronic computing device Such as a notebook computer, a 65 265 also proactively schedule activities. Collectively, the
desktop computer, a mini-computer, a mainframe computer, Software agents 265, among other things, Schedule ahead for
or a Supercomputer. The computing device 110 may even be, each lot 130 one or more operations on a Specific qualified
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process tool 115, including transports and required                   notifying a Subscribing Software Scheduling agent, e.g.,
resources, as discussed further below. This includes making             the LSA305, the MSA310, the PMSA315, or the RSA
optimizing decisions Such as running an incomplete batch,               320, of the occurrence; and
as opposed to waiting for an approaching lot 130, and                 reactively Scheduling an action responsive to the detection
scheduling opportunistic preventive maintenance (“PM”)                   of the predetermined event.
procedures or qualification tests ("Quals”) to meet specifi        The predetermined event and the reactively Scheduled action
cations. The software agents 265 schedule and initiate             will be implementation Specific. Several exemplary events
activities Such as lot transport and processing, perform MES
transactions, monitor processing and transport; and react to       and reactively Scheduled actions are discussed further
unscheduled activities or deviations from Scheduled activi         below.
ties. Furthermore, in the illustrated embodiment, the Soft           Note that this type of reactive Scheduling implies a
ware agents 265 are configurable in a manner that allows a knowledge that Such events are occurring within the proceSS
user to influence their behavior in order to tune the perfor flow 100. To this end, the software agents 265 respond to
mance of the process flow 100.                                    additional Software components, not shown, known as “pub
   In the illustrated embodiment, the scheduling agents 265 15 lishers” (or, “notifiers”) and “subscribers.” Agents create
are typed by the manufacturing domain entities they repre listeners which Subscribe to one or more notifiers. Notifiers
Sent. There may be many different types of Scheduling “publish' events to their subscribing listeners when changes
agents 265, depending on the implementations. The prin occur within the factory. Listeners, in turn, call their Sub
ciple types of Scheduling agents 265 in the illustrated scribing software agent 265. For example, when a MSA is
embodiment, shown in FIG. 3, include:                             created, the agent will create a machine listener that Sub
   a Lot Scheduling Agent (“LSA') 305 that schedules scribes to specific machine events. The MSA is interested in
      activities on behalf of lots 130 of wafers 135;             receiving any changes that occur to a particular machine. For
   a Machine Scheduling Agent (“MSA”) 310 that schedules example, if the availability of the machine changes, the
      activities on behalf of process tools 115;               25 publisher will publish the event to all of its listeners. The
   a PM Scheduling Agent (“PMSA”) 315 that schedules machine listener will then notify the subscribing MSA about
      activities on behalf of PMs and Quals (not shown); and the event. The subscribing MSA will then react appropri
   a Resource Scheduling Agent (“RSA')320 that schedules ately.
      activities on behalf of resources (not shown).                 More particularly, when the software agents 265 are
However, other types may be employed in addition to, or in created, they create listenerS and Subscribe to published
lieu of, those shown. The roles and functions of each of these    events by adding the listeners to the event publisher. Lis
of scheduling agents 265 in the illustrated embodiment will teners enable the software agents 265 to react to events in the
be more fully discussed below.                                    process flow 100 in an appropriate manner. Table 1, below,
   Some of these activities are Scheduled reactively, i.e., in lists the relevant software agents 265 employed in the
response to events occurring in, e.g., the process flow 100, 35 illustrated embodiment, the listeners they create, and a
in accordance with the present invention. In one particular description of their function. Note that the use of publishers
embodiment, this includes:                                         and Subscribers via listenerS and notifiers in this manner is
  detecting an occurrence of a predetermined event in a            known to the art, and any Suitable technique may be
    process flow, e.g., the process flow 100;                      employed.

                                                                                        TABLE 1.
                                                                         Software Agents and ASSOciated Listeners
                                                 Software Agent        Associated Listeners     Reason for Subscribing
                                                 RSA (e.g., a resource Equipment Event Listener Listens to events from the Equipment
                                                 loading agent)                                 Interface. Events may include loading
                                                                                                started, charging started, loading
                                                                                                completed, charging completed, etc.
                                                                       Machine Listener            Listens to MES events that occur on
                                                                                                   the machine. For example, it listens
                                                                                                   when a machine is not available and
                                                                                                  reacts appropriately.
                                                                       Process Operation Listener Listens to changes within a process
                                                                                                  operation since it might change the
                                                                                                  processing capability of a machine.
                                                                       Process Listener           Listens to changes within a process
                                                                                                  since it might change the processing
                                                                                                  capability of a machine.
                                                                       Alarm Listener              Listens to alarms that have been set at
                                                                                                   start or end times for scheduled
                                                                                                   activities.
                                                                       Schedule Advertisement      Listens to “advertised time slots for
                                                                       Listener                    scheduled appointments that have not
                                                                                                   started.
                                                                       Appointment State Change Listens to any corresponding
                                                                       Listener                 appointments on scheduling calendars
                                                                                                of other agents that might affect its
                                                                                                   calendar.
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                              TABLE 1-continued
                      Software Agents and Associated Listeners
Software Agent      Associated Listeners        Reason for Subscribing
LSA                 Alarm Listener              Listens to alarms that have been set at
                                                start or end times for scheduled
                                                activities.
                    Lot Listener                Listens to MES events that occur on
                                                the lot, such as product change,
                                                priority change, wafer count, and so
                                                O.
                    AMHS Listener            Listens to changes in the location of
                                             the lot of represented by the LSA.
                    Appointment State Change Listens to any corresponding
                    Listener                 appointments on scheduling calendars
                                             of other agents that might affect its
                                                calendar.
MSA                 Alarm Listener              Listens to alarms that have been set at
                                                start or end times for scheduled
                                                activities.
                    Process Operation Listener Listens to changes within a process
                                               operation since it might change the
                                               processing capability of a machine.
                    Machine Listener           Listens to MES events occurring on
                                               the machine. For example, it listens
                                                when a machine is not available.
                    Appointment State Change Listens to any corresponding
                    Listener                 appointments on scheduling calendars
                                             of other agents that might affect its
                                                calendar.
                    Chamber Listener            Listens to MES events that occur at
                                                chamber level, such as downtime, PM,
                                                or Quals.
                    Process Listener         Listens to changes within a process
                                             since it might change the processing
                                             capability of a machine.
                    Equipment Event Listener Listens to events from the Equipment
                                             Interface. Events may include carrier
                                             arriving at the machine port,
                                             processing started, processing near
                                             complete, carrier departed, etc.
PM Scheduling Agent Chamber Listener            Listens to MES events that occur at
(“PMSA)                                         chamber level, such as downtime, PM,
                                                or Quals.
                    Machine Listener            Listens to MES events that occur on
                                                the machine. For example, it listens
                                                when a machine is not available.
                    Qual Collection Listener    Listens to any new Quals or deleted
                                                Quals.
                    PM Collection Listener      Listens for any new PMs or deleted
                                                PMs.
                    Appointment State Change Tracks changes to any appointments
                    Listener                 that might affect his calendar.

   As is evident from Table 1, the software agents 265 listed               want to be notified that the appointment has changed. In this
therein listen to appointment changes that might affect their               case, the lot processing appointment LOT on the MSA
calendar. Consider, for example, FIG. 5 (discussed in more 50 calendar 370 contains a listener 356 that notifies the LSA
detail below) in conjunction with Table 1. FIG. 5 illustrates 305 through a notifier 354 when the processing appointment
different appointments (SETUP, LOT, MOVE, TOOL, LOT changes. On the other hand, the lot appointment
PM, QUAL, etc.) that are contained within the calendars for TOOL contains a listener 358 that notifies the MSA 310
each of several agents (the MSA for TOOL, the LSA for through a notifier 352 when it changes. If the MSA 310
LOT, a PMSA, and a RSA). FIG. 5 also illustrates corre 55 changes the processing appointment LOT, the LSA 305
sponding appointments between those calendars. For               will be notified of the appointment change and it will modify
example, the MSA calendar contains a processing appoint          the appointment TOOL accordingly. Thus, listenerS enable
ment LOT that corresponds with the processing appoint            the Software agents 265 to Synchronize the corresponding
ment TOOL on the LSA calendar. These two appointments            appointments. Also, the Software agents 265 can Schedule
are actually for the same event (i.e., the processing of LOT     reactively to Such predetermined events when appropriate
on TOOL) made by two different entities (i.e., the MSA and 60 and can then keep their calendars updated as changes are
the LSA, respectively) for two different entities (i.e., the lot instituted by other software agents 265.
LOT and the processing tool TOOL).                                  When the software agents 265 react to appointment
   Referring now to both FIG. 3 and FIG. 5, when corre changes, they carefully manipulate the corresponding
sponding appointments (e.g., LOT, TOOL) are created, the appointments. In Some cases, it would be inappropriate for
appointments themselves may contain a collection of 65 two Software agents 265 to manipulate their respective
listeners, e.g., the listeners 356, 358 in FIG. 3. Listeners are corresponding appointments at the same time. Thus, a Single
added to the appointment when other software agents 265 Software agent 265 is responsible for manipulating its
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respective corresponding appointment, which will then              lots 130 to the location of the newly booked processing
prompt the Software agent 265 of the corresponding appoint         appointment 375. For instance, referring to FIG. 1 again,
ment to manipulate its respective corresponding appoint            assume the lots 130 processing on the first process tool 115
ment. For example, in FIG. 5, the LSA305 contains a move           exits from a port 140 and needs to arrive at the port 145 of
appointment MOVE followed by the lot processing                    the Second process tool 115 for the Scheduled processing
appointment TOOL. If the end time for the move appoint             appointment 375. Each LSA305 schedules the appointments
ment MOVE arrives but the appointment is not finished, an          for the lot 130 to transit between the Source and destination
alarm listener notifies the LSA305. (“Alarms” are one type        locations, e.g., the port 140 of the first process tool 115 and
of event listened for, and are discussed further below.) The      the port 145 of the second process tool 115.
LSA305 then expands the duration of the move appointment             FIG. 5 conceptually illustrates three related calendars
MOVE by a configurable amount of time, but also shifts the        maintained for three different types of entities-a lot 130, a
lot processing appointment TOOL to accommodate the                process tool 115, and a preventive maintenance (“PM”)-on
expansion of the move appointment MOVE.                           which different types of appointments are booked. In the
                                                                  illustration of FIG. 5, as opposed to the illustration of FIG.
   At the same time, the alarm listener for the MSA310 will       4, all appointments for a given calendar are collapsed onto
notify it that the Start of the lot processing appointment 15 a single timeline. The commitment windows for each
TOOL has arrived. Since the LSA 305 can best determine appointment are omitted to facilitate this collapse and to
when the lot LOT should arrive at the process tool 115, the keep from unduly cluttering the illustration. More
LSA 305 shifts the start time of the lot processing appoint particularly, FIG. 5 illustrates:
ment TOOL after expanding the move appointment. The                  a calendar for a process tool TOOL maintained by a
MSA310 will wait for its appointment state change listener              MSA for the process tool TOOL, including appoint
to notify it of the shift to the lot processing appointment, will       ments booked for setups (e.g., SETUP, SETUP), lot
find its counterpart lot processing appointment, and shift it           processing appointments (e.g., LOT, LOT, LOT);
accordingly. In this circumstance, the MSA 310 will ignore              PMs (e.g., PM); and Quals (e.g., QUAL);
its own start time alarm. Although not shown, the lot 130,           a calendar for a lot LOT maintained by a LSA for the lot
process tool 115, resources, and PMs and Quals all have 25              LOT on which are booked appointments for moves
corresponding “processing agents, also not shown, that are              (e.g., MOVE, MOVE, MOVE, MOVE MOVE)
notified by the Scheduling agents when Significant events               and lot processing appointments (e.g., TOOL,
occur that may require processing.                                      TOOL); and
   In furtherance of their proactive and reactive Scheduling         a calendar for a PM maintained by a PMSA on which are
duties, the Software agents 265 maintain calendars, Such as             booked appointments for PMs (e.g., PM), and Quals
the calendar conceptually illustrated in FIG. 4, of scheduled           (e.g., QUAL).
“appointments.” FIG. 4 conceptually illustrates a calendar Still other types of appointments may be booked. For
containing information concerning appointments for, e.g., a instance, if the process tool TOOL goes down, i.e., is no
process tool 115 for a number of lots 130. An “appointment” longer available for processing, a "downtime appointment'
is a time period certain in which the process tool 115 has 35 may be booked on its calendar to represent the expected
obligated itself to perform the proceSS operation, and is repair time. Note that each of these appointments in the
defined by an Appointment Start Time (“TS”) and an                 calendar of FIG. 5 is for an event that, in the first instance,
Appointment End Time ("TE"). In the illustrated        the Software agents 265 proactively Schedule according to
embodiment, the appointments are booked within “commit the manufacturing domain entity they represent.
ment windows” ("CW"), or time windows defined by an 40 An appointment, e.g., the processing appointment 375 in
Earliest Start Time for processing (“EST) and a Latest             FIG. 3, exists in one of several “states', or have a certain
Delivery Time (“LDT”). The client lot 130 commits to               “status, at any given time. In the illustrated embodiment,
arrive at the process tool 115 no later than the EST and the       the Status may be:
process tool 115 commits to complete the processing no later          tentative-the appointment has been created, but not
than the LDT. Note, however, that the use of commitment 45              booked (which is discussed further below);
windows are not necessary to the practice of the invention.          unready-the tentative appointment has been booked, but
  In FIG. 4, the process tool 115 has booked appointments               is not ready for execution;
APP-APP for lots Lot-Lot, respectively. Thus, the cal                ready-the lot 130 involved in the appointment has
endaring information for Lot-Lot is as follows:                         arrived at the process tool 115 for which it is booked;
  Lot: APP to, t2), CWts, ti)                               50
                                                                     active-the Start time for the appointment has arrived and
  Lot2: APPts, tis), CW-Ito, to                                         all participants are ready;
  Lot: APPts, t-z, CWt, t                                            active PM/Qual-the start time for a following Qual
  Lot: APPts, t), CWt, to                                               portion of a PM appointment has arrived;
Note that, in the illustrated embodiment, several of the             processing the Scheduled activity has started, i.e., the
commitment windows overlap, but none of the appointments 55             Start command has been confirmed by the process tool
overlap. Appointments may be shifted within their commit                115, or the PM or Qual has started;
ment window, So long as they do not overlap other                    processing PM/Qual-the follow-up Qual portion of a
appointments, or may be expanded, shrunk, canceled and
rescheduled as is discussed more fully below. However, in               PM has started;
Some embodiments, parts of the appointments may overlap. 60          near complete-the appointment is nearing completion as
   Thus, returning to FIG. 3, appointments, e.g., the pro               defined by predetermined parameters (e.g., processing
cessing appointment 375, are proactively booked on                      time remaining, wafer count);
calendars, e.g., the calendars 385, 370, maintained by each          complete-processing is completed;
Scheduling agent, e.g., the Scheduling agents 305,310. Note,         canceled-booked appointment is removed from a calen
however, that not all appointments are processing appoint 65           dar before it enters the processing Status, and
ments. Whenever the processing appointment 375 is booked,            aborted-appointment was stopped during processing in a
the LSA 305 schedules move appointments for moving the                 processing Status.
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A tentative appointment remains tentative until it is booked,       operation of a lot, a lot's location changing, a carrier arriving
whereupon it enters the unready Status. The appointment is at a machine port, etc. For every factory State change that is
unready until the lot 130 arrives at the process tool 115. The a “predetermined event,” the Software agents 265 react
appointment is then ready until the Start time for the appoint accordingly. Exemplary factory State changes might include
ment arrives. The appointment then becomes active (i.e., the aPM/Oual downtime occurrence, a machine becoming available, a
appointment commences) until the process tool 115 con departing abeing          machine;
                                                                                        detected; a chamber going down; a lot
                                                                                             a move completed; and a wafer com
firms it has started processing. Once the appointment is pleted.
processing, it retains that Status until it nearS completion and       Alarm events occur, in this particular embodiment, when
then is complete. If the appointment is removed from the a specific alarm has expired. Agents react when an alarm
calendar before entering the processing State, it is “canceled'     event is received-for example, when the appointment end
and removed from the System. Once in the processing Status, time has arrived for a lot appointment. If the machine agent
the appointment is “aborted” if halted. A completed appoint does not receive notification that the appointment has ended,
ment or an aborted appointment retains this status until it is the      machine agent will expand the appointment based on a
                                                                    configurable percentage of the appointments total duration.
removed from the system.                                         15 Once the appointment is expanded, the machine agent will
   However, in accordance with the present invention, the Set a new alarm for the new, predicted end time of the
Software agents 265 also reactively schedule events for their appointment. An alarm event might be, for instance, an
respective manufacturing domain entities resulting from alarm firing for an appointment Start time or an alarm firing
developments in the process flow 100. Typically, reactive for an appointment end time.
Scheduling by the Software agents 265 effects changes to               Note that Some events are unplanned, or unexpected. For
appointments that were, in the first instance, proactively instance, there is no reliable way to actually know when a
Scheduled. However, this is not necessary to the practice of machine or chamber goes down unless it is going down for
the invention. For instance, in one particular embodiment, a scheduled PM or a Qual period. Some of these events are
the Software agents 265 Schedule activities in reaction to a 25 expected. For instance, the time at which a lot 130 arrives at
machine failure which causes the machine to Stop processing the         port 145 of the process tool 115 should be known if it
                                                                    arrives on time since the move was Scheduled. Some
and requires a period of downtime in order to repair the
machine. There usually would not be any proactively Sched embodiments               may therefore choose not to Schedule reac
uled appointment for Such an event Since a machine failure tively          to Such an event, instead preferring to Schedule
                                                                    proactively on the assumption the Schedule will be met and
usually cannot be predicted in advance.
   More particularly, the Software agents 265 usually react to scheduling       reactively only if the schedule is not met. Note
                                                                    that other embodiments may Schedule reactively to events
different events that occur within the process flow 100. not listed either in addition to or in lieu of those set forth
These events are identified beforehand, i.e., are                    herein.
“predetermined.” So that appropriate activities in reaction to      The reactive Scheduling performed upon the occurrence
those events can be defined. The appropriate actions will 35 of any particular event will depend on the nature of the event
depend on a number of factors including not only the type and, to Some degree, upon the particular implementation.
of manufacturing domain involved, but also the type of Generally Speaking, the reactive Scheduling typically
event that is involved. The predetermined events are includes changing appointments, e.g., the appointment 375
categorized, in the illustrated embodiment, as one of three in FIG. 3, previously scheduled and booked. Booked pro
types: appointment State change, a factory State change, or 40 cessing appointments and PM/Qual appointments may be
an alarm event.
                                                                  shifted, expanded, aborted, shrunk, canceled, and
   Appointment State changes usually occur when a Software re-Scheduled. Move and Setup appointments are modified as
agent 265, e.g., the Scheduling agents 305, 310 change an needed at the time lot processing appointments are modified.
appointment, e.g., the processing appointment 375. A Soft In the illustrated embodiment, these appointment modifica
ware agent 265 may change the Status of the appointment, 45 tions are performed by the LSA 305 or the MSA 310.
expand or shrink the appointment, cancel the appointment,           For example, booked processing appointments may be
shift the appointment, or perform other manipulations to the shifted, which may cause booked move appointments to be
calendar or appointments on the calendar. When an appoint canceled, aborted, or rescheduled. Appointments are viewed
ment is changed, the appropriate agents 265 react to the as “beads on a String. Existing appointments are permitted
change. For example, the MSA310 may expand the sched 50 to slide backward or forward in time (i.e., “right” or “left”
uled duration of the appointment 375 on its calendar 370 due in FIG. 4 and FIG. 5) within their respective commitment
to the appointment 375 running late. The LSA 305 reacts to windows as desired to accommodate changes in Scheduling.
that change by expanding the corresponding appointment In the illustrated embodiment, to Simplify the logic, appoint
375 on its calendar 385 to keep the appointments 375 ments are not permitted to shift past the next appointment in
synchronized across the two calendars 370, 385. Appoint 55 either direction.
ment State changes may include, for instance, appointment           Consider the circumstance where a lot processing
cancellations, appointment expansions, appointment appointment for a lot 130 completes earlier than expected.
Shrinkage, appointment aborts, appointments changing This provides an opportunity for the MSA310 to reactively
Status, appointments shifting, and commitment window Schedule what is known as an “early start.” Because the
updates.                                                       60 MSA310 in FIG. 3 is idle, the MSA310 will attempt to shift
   Factory State changes usually occur when the State of the the next appointment to an earlier Start time and Start it
factory, e.g., the process flow 100, changes. Factory State immediately. When the lot 130 completes the processing
change events may originate from the MES 270 (shown in appointment early, the MSA 310 reacts by shifting Subse
FIG. 2), the AMHS280 (also shown in FIG. 2), or from the quent Scheduled appointments earlier in time to take advan
Equipment Interface (“EI”, not shown) for the process tools 65 tage of the early start opportunity. The LSA 305 will react
115. Factory State changes may include lot due date changes, differently to the event of the lot processing completing
a lot being put on hold, changing the process or process early.
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  This instance is shown in FIG. 6A, wherein the current             expanding the duration of a Scheduled appointment;
time t falls within the commitment window CW for the                 Shrinking the duration of a Scheduled appointment;
next appointment APP. The next appointment APP is then               shifting a Scheduled appointment to an earlier or later
shifted left, or earlier in time, So that its processing can begin     time;
immediately. If the next booked appointment cannot be
shifted to start at the current time, the MSA310 will search         changing a commitment window;
for any other booked appointments that may have commit              changing an appointment attribute (e.g., transport start
ment windows starting at the current time or earlier. If one           time, remaining transport time, etc.);
of these booked appointments can be moved to Start imme             Setting an alarm;
diately without causing cancellation of any other booked 1O canceling an alarm; and
appointments, the booked appointment will be moved in a
“jump over” fashion and other booked appointments will be           changing the Status of an appointment.
shifted as required. This scenario is shown in FIG. 6B,           The  “predetermined events' provoking Such reactive Sched
wherein the current time t at which the provider is idle is uling may include, for an appointment State change:
outside the commitment window CW for the next booked 15 canceling an appointment;
appointment APP, but falls within the commitment window             expanding an appointment;
CW of the third booked appointment APP. Hence, the                  Shrinking an appointment;
third appointment APP performs a “jump over” operation,             aborting an appointment;
jumping over appointments APP and APP and appoint
ment APP is shifted right to a later start time immediately         an appointment changing Status,
following appointment APP.                                          shifting an appointment;
   In either situation, the LSAS 305 for the affected lots 130      an unexpected carrier arrival;
are notified by that their appointments have been changed.          a transport time update;
The difference in Start times and end times may also change
the appropriateness of Scheduled moves. For instance, if a 25 a load time update;
booked appointment is shifted left, the earlier Start time          an unload time update;
means the lot 130 must arrive earlier than may be provided          a lot joining a batch;
for by the currently scheduled moves. Conversely, a later           a lot leaving a batch;
start time means the lot 130 should move later. In either
circumstance, modified moves may be appropriate to                  canceling   a lot from a batch; and
achieve the correct arrival time for the lot 130.                   updating   a commitment window.
                                                                  For a  factory
   Consider also the circumstance where the Software agents be, for example:      State change, the predetermined event might
265 reactively schedule because the duration of a current
appointment, or an appointment immediately preceding it, is         detection of downtime,
longer than expected. When the LSA 305 and MSA 310 35 a machine becoming available;
book appointments, they set an "end-time alarm' (not                a PM/Qual being detected;
shown) that notifies them when the appointment is Sched             a chamber going down or coming up;
uled to be completed. When the task is completed, the               a change in machine capabilities,
scheduling agents 305,310 are notified and these alarms are
canceled. Thus, if the alarm fires, then the Scheduling agents 40 a change in machine types;
305, 310 know the appointment did not complete at the               addition of a process,
Scheduled time, and that the appointment needs to be                addition of a proceSS operation;
expanded.                                                           a lot process changed;
   FIG. 7A and FIG. 7B illustrate two Such situations. The          a lot placed on hold;
timelines for the appointments in each have been collapsed 45 a lot relesed from hold;
and the commitment windows are omitted as was the case
                                                                    a lot priority changed;
for the calendars in FIG. 5. In FIG. 7A, the move MOVE              a lot due date changed;
had a longer duration than was expected, and So the moves
MOVE MOVEs and the appointment APP were shifted                     a lot wafer count changed;
later in time to accommodate this longer duration. In FIG. 50 a lot proceSS operation changed, and
7B, the appointment APP took longer than was expected,              a lot departing from or arriving at a machine.
and so the appointments APP and APPs were shifted later And, for an alarm event, the predetermined event might be:
in time. Note that in both FIG. 7A and FIG. 7B, the                 an alarm firing for an appointment Start time; and
illustrated changes necessarily imply that, in both                 an alarm firing for an appointment end time.
circumstances, the commitment windows for the changed 55 Note that these lists are not exhaustive, but illustrative only.
appointments were wide enough to accommodate the The identity of predetermined events will be
changes. Otherwise, Some appointments would have to be implementation-specific, and So may vary among embodi
canceled.
                                                                  ments. Typically, depending on the event provoking the
   AS can be seen from these two examples, the reactive reactive Scheduling, these activities will be employed in
Scheduling will vary according to the circumstance. In 60 combination, or in the alternative, conditionally. Tables 2-5
general, in the illustrated embodiment, the following Sched
uling activities may occur responsive to a predetermined list         the predetermined events, their type, and their reactive
                                                                  Scheduling   activities for machine, lot, PM, and resource
eVent:                                                            Scheduling agents, respectively, for one particular imple
   aborting a Scheduled appointment in progress,                  mentation of the present invention.
   canceling a Scheduled appointment before it begins,         65   Tables 2, Table 3, and Table 5 refer one or more of
   Scheduling a new appointment;                                  load/unload operations and appointments and charge/
   Starting a Scheduled appointment;                              discharge operations and appointments. AS will be appreci
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ated by those skilled in the art having the benefit of this              trated embodiment employs an appointment locking mecha
disclosure, Some process tools 115 perform lot batch proceSS             nism. Generally Speaking, when a lot 130 Starts its final
operations in which multiple lots 130 are simultaneously                 move from a Source location to a process tool 115, it is
processed in a batch. Some of these process tools 115 use                undesirable to have a new appointment jumping in front of
load, charge, discharge and unload Steps. For instance, a                it by canceling or shifting that appointment to the right, or
process tool 115 may first load all the batch participants, i.e.,        later in time. To prevent this from occurring, the MSA
lots 130, from the tool I/O ports (not shown) to the tool                “locks” the lot processing appointment when the lot 130
internal Stocker (also not shown). Usually this type of                  Starts its final move. Note that locked appointments never
process tool 115 has multiple I/O ports, and the load/unload             theless Sometimes do need to be shifted. For instance,
operations are also performed in batches. After all the batch            assume two appointments are booked on the calendar for a
participants are loaded, the process tool 115 performs a                 particular process tool 115, and the first one is processing
batch charge operation to move the batch participants from               while the lot 130 for the second one has started the final
the internal Stocker into, e.g., a furnace tube (not shown)      move to the process tool 115. The second appointment is
before the processing can actually begin. After the proceSS locked because it is in its “final” move to the process tool
tool 115 completes the batch process operation, it discharges 15 115. If the first appointment runs long and must be
the batch participants, e.g., from the furnace tube back into expanded, the Second one must first be shifted to permit the
the internal stocker. Finally when the lots 130 are ready to first one to expand. Thus, the locked Second appointment
be moved to the tool I/O ports, a Sequence of batch unload must be shifted even though this is generally undesirable. In
operations is performed.                                         general, however, appointments may be "locked' in certain
   Table 2 also refers to appointments that are “locked.” To circumstances to prevent them from being shifted or can
help prevent undesirable appointment shifting, the illus celed.

                                                                                              TABLE 2
                                                                               Reactive Scheduling Activities for MSAs
                                                   Event            Event Type    Reactive Scheduling Activities
                                                   Downtime         Factory State A downtime event may indicate the machine is currently not
                                                   Detected         Change        available for processing or that an error has occurred during
                                                                    (MES)         processing. If the MSA detects that the machine is not
                                                                                  currently available for processing, the MSA will abort and
                                                                                  shrink any lot processing appointment that is processing. It
                                                                                  will then book a downtime appointment after the aborted lot
                                                                                  processing appointment or after the unload appointment. If the
                                                                                  downtime event occurred due to an error during processing,
                                                                                   he MSA will book a downtime appointment after the lot
                                                                                  processing appointment that is processing or the unload
                                                                                  appointment. Booked processing appointments overlapping
                                                                                   he downtime appointment are shifted later in time, if possible,
                                                                                  or are otherwise cancelled.
                                                   Machine          Factory State Any active PM, QUAL, or downtime appointments are
                                                   Available        Change        completed. The next appointment on the machine's calendar is
                                                   Detected         (MES)          hen shifted and started, if possible.
                                                   PM/Oual          Factory State A PM/Qual appointment is booked after any active
                                                   Detected         Change        appointments. Any booked appointments overlapping the
                                                                    (MES)         PM/Qual appointment are shifted after the PM/Qual
                                                                                  appointment. If any overlapping booked appointment cannot
                                                                                  shift, it is cancelled.
                                                   Chamber       Factory State All unready appointments for the machine or chamber that has
                                                   Down Detected Change        not started are canceled.
                                                                    (MES)
                                                   Chamber Up       Factory State The duration for any appointment is shrunken to the expected
                                                   Detected         Change        completion time based on the new throughput rate and shifted
                                                                    (MES)         to the right, or later in time, if possible.
                                                   Lot Not At a     Alarm State If the lot has “reserved a port with the machine, the MSA will
                                                   Port At a        Change        wait until the LSA expands the move appointment. The
                                                   Scheduled                       xpansion of the move appointment will cause the LSA to shift
                                                   Start Time                      he lot appointment to the right. The MSA will then react
                                                                                   ppropriately to the shifting of the lot appointment. If the lot
                                                                                   .
                                                                                   as not reserved the port, the appointment is cancelled.
                                                   Lot Arrived at   Factory State he lot arrived at the right location, the MSA will make the
                                                   Machine Port     Change (EI) ppointment active if it is not a participant of a batch
                                                                                   ppointment. If the appointment is a participant of a batch
                                                                                   ppointment, the MSA will make the appointment ready. If
                                                                                    e machine is idle and the appointment is active, the MSA
                                                                                    ill start processing the appointment. (Note: a participant of a
                                                                                   atch appointment is made active when all of the participants
                                                                                   ave arrived at the machine.)
                                                                                      he lot arrived at the right machine but the wrong port, the
                                                                                  MSA will check to see if a different lot reserved the port. If a
                                                                                  different lot reserved the port, the MSA will assign that lot the
                                                                                  next available port. If the appointment for the arriving lot is
                                                                                  active, the MSA will start processing the appointment.
                                                                                  If the lot arrived at the wrong machine, the MSA will check to
                                                                                  see if a different lot reserved the port. If a different lot
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                                   19                                                             20
                                   TABLE 2-continued

                            Reactive Scheduling Activities for MSAs
Event            Event Type Reactive Scheduling Activities
                               reserved the port, the MSA will assign that lot the next
                               available port. The machine will then book an appointment for
                               the lot just arrived. Any overlapping appointments will be
                               shifted to a later time. If an overlapping appointment cannot
                               shift later in time, it will be cancelled.
Lot Processing Alarm State If a lot processing appointment is running late, it is expanded
Appointment Change         and any overlapping booked appointments are shifted to the
Running Late               right, or later in time. If any overlapping booked appointment
                           cannot shift right and the appointment is not locked, it is
                           cancelled. If the appointment is locked and cannot shift right,
                           the appointment's commitment window will be expanded to
                               allow the shift to occur.
Lot Processing Factory State If a lot processing appointment completes earlier than
Completing     Change (EI) expected, the appointment is shrunk and completed and, if
Early                        possible, the next appointment is shifted earlier in time. If the
                             next appointment can shift to the current time, it will start that
                             appointment.
Lot Processing Factory State The MSA calculates the remaining processing time for the lot.
Near Complete Change (EI) If it is going to finish early, the appointment is shrunken to the
Detected                     new end time and any following appointments are shifted left,
                             or earlier in time. If it is going to finish late, the appointment
                             is expanded to the new end time and any overlapping
                             appointment are shifted to a later time or cancelled.
Lot            Appointment If processing or near complete, the appointment is aborted or,
Appointment State Change if unready, simply canceled. Upon cancellation of an
Cancelled                    appointment, the next appointment is shifted earlier in time, if
                             possible, to reduce any gaps between appointments.
LOt Departing Factory State If the lot was still processing at the time of its departure, the
Machine Port Change (EI) appointment is aborted and the end time shifted earlier in time.
                             The next appointment is shifted earlier as much as possible.
Shift          Appointment The appointment is shifted right. If it cannot be shifted right, it
Appointment State Change is canceled, unless it is locked. If it is locked, any appointment
Right                        blocking the right shift are cancelled


   Table 3 refers to “feeder operations.” In a partially auto ties from the last feeder process tool 115 to a controlled
mated fab, only a portion of the proceSS operations may be 45 process tool 115. In one embodiment, the duration of the
scheduled and controlled by the software agents 265. Thus, maximum move appointment is derived by the worst case
only a subset of the process tools 115 in the fab are under the transport time between the last feeder process tool Station
control of the software agents 265 and the fab is not fully
under the control of this System. Those proceSS operations 50 105 and the controlled process tool station 105. When the
controlled by the Software agents 265 are called “control last feeder appointment is activated, the actual process tool
proceSS operations.” Immediately before each control pro          115 performing the last feeder operation is known, and thus
ceSS operation, a Sequence of “feeder” operations can be the maximum move appointment will be replaced by a move
derived from a configurable percentage of the process time appointment or a sequence of move appointments.
of the controlled process operation. Feeder appointments are         Table 3 furthermore refers to a “bid request.” In the
used in determining the earliest start time for an appointment 55 illustrated
being Scheduled ahead. More particularly, feeder appoint protocol forembodiment,            the process flow 100 employs a
                                                                              Scheduling appointments that begins with a “bid
ments are used when a LSA is Scheduling ahead and the time request.” The LSA305 publishes a “request bid” message to
has not yet arrived for Scheduling the feeder operation with a capable MSA310. The MSA310 submits one or more bids
an actual process tool 115. Feeder appointments are used to
represent processing activities for those feeder operations 60 to the LSA 305. The LSA 305 selects one from among
with the duration equal to the cycle time of the respective Several Such bids, which typically results in one or more
feeder operations.                                                “appointments' associated with performing the operation
   Table 3 also refers to “maxMove” appointments. For a the LSA305 is seeking for its lot 130 of wafers 135. Note,
feeder operation, the specific process tool 115 that will however, that other protocols may be employed in which
perform the final feeder operation is not known until the lot 65 there is no “bid request.” Thus, the bid request is an
130 begins processing at the final feeder operation. A implementation specific feature that may not be found in all
"maximum move' appointment represents transport activi embodiments.
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                                                                US 6,907,305 B2
                                  21                                                          22
                                        TABLE 3
                          Reactive Scheduling Activities for LSAs
Event              Event Type        Reactive Scheduling Activities
Appointment End Alarm Event          The alarm indicates that the scheduled end time of
Time Alarm Fired                     the move appointment has arrived. The LSA
For Move                             determines if the move appointment should be
Appointment                          expanded. If the move originates from a machine
                                     port, move appointment expansion is always
                                     permitted to clear the port. Otherwise, the move
                                     appointment is expanded a percentage (i.e., 25%) of
                                     the originally scheduled duration until a maximum
                                     expansion percentage has been reached (i.e., 175%).
                                     When the maximum expansion percentage has been
                                     reached, the appointment is aborted. If the move
                                     appointment is expanded, subsequent booked
                                     appointments are shifted later in time. A new end
                                     time alarm is then set for the expanded move
                                     appointment.
Appointment End Alarm Event          The alarm indicates that the scheduled end time of
Time Alarm Fired                     the feeder appointment has arrived. The LSA will
For Feeder                           expand the appointment by a configurable
Appointment                          percentage. Any subsequent feeder appointments (if
                                     any) will be shrunk by the amount that this feeder
                                     appointment expanded (can't shrink a feeder duration
                                     to be less than the process time for the operation).
                                     As a last resort, appointments after the final feeder
                                     appointment will be shifted to a later time.
Appointment        Alarm Event       This alarm indicates that the scheduled start time of
Start Time                           the specified move appointment has occurred. The
Arrived For                          LSA will make the appointment active if it is not
Move                                 active and the AMHS move will be initiated. If the
Appointment                          appointment is the final move before a lot
                                     appointment, the LSA will ask a MSA to reserve a
                                     port and lock the appointment. It will also
                                     appropriately update the total transport time and
                                     remaining transport time. The LSA will then create
                                     an appointment end time alarm.
Appointment        Alarm Event       This alarm indicates that the scheduled start time of
Start Time                           the specified feeder appointment has occurred. The
Arrived For                          LSA will make the appointment active if it is not
Feeder                               active. The LSA will then create an appointment end
Appointment:                         time alarm.
Lot Appointment Appointment          The LSA cancels the lot appointment and any non
Cancelled          State Change      active moves associated with the lot appointment. It
                                     will also cancel all load and unload appointments
                                     associated with the lot appointment and appropriately
                                     cancel any alarms as necessary. The LSA then
                                     reschedules the cancelled appointment(s).
Expand Lot         Appointment       The MSA initiates this change when the lot
Appointment        State Change      appointment is running long. The LSA will react to
                                     this change by shifting all appointments to the right,
                                     or later in time, after the lot processing appointment
                                     being expanded. It will then expand the lot
                                     appointment to the specified time.
Make Lot           Appointment       The MSA initiates this change when the processing
Appointment        State Change      of the lot has been interrupted. The LSA will change
Aborted                              the status of the appointment to aborted, put the lot
                                     on hold, and schedule a move appointment to a sorter
                                     or a stocker after canceling all appointments.
Make Unload        Appointmen        The LSA will change the status of the unload
Appointmen         State Change      appointment to aborted.
Aborted
Make Load          Appointmen        The LSA will change the status of the load
Appointmen         State Change      al p Oi   e   o aborted.
Aborted
Make Lot           Appointmen           he MSA initiates this change when the processing
Appointmen         State Change          the lot has started. The LSA will change
Processing                             ppointment to the processing status, inform the lot
                                       rocessing agent to start processing the appointment.
Make Load          Appointmen           he LSA will change appointment to the processing
Appointmen         State Change        atus, and inform the lot processing agent.
Processing
Make Unload        Appointmen          he LSA will change appointment to the processing
Appointmen         State Change        atus, and inform the lot processing agent.
Processing
Make Lot           Appointmen        The MSA initiates this change when the lot has
Appointmen         State Change      completed processing and may shrink the
                                     appointment if appropriate. The LSA will notify the
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                                 23                                                                24
                                 TABLE 3-continued
                         Reactive Scheduling Activities for LSAs
Event             Event Type        Reactive Scheduling Activities
                                    processing agent, change the status to completed,
                                    ensure that a post control move appointment has
                                    been scheduled, and, if not, it will create one. It
                                    initiates the next appointment.
Make Load         Appointment       The LSA will notify the processing agent and change
Appointment       State Change      the status to completed. It initiates the next
Completed                           appointment.
Make Unload       Appointment       The LSA will notify the processing agent and change
Appointment       State Change      the status to completed. It initiates the next
Completed                           appointment.
Make Move         Appointment       The LSA will make the appoin ment completed and
Appointment       State Change      may shrink the appointment if appropriate. It will
Completed                           also cancel the end time alarm, appropriately updates
                                    the transport start time, and ini iates the next
                                    appointment.
Make Lot          Appointment       The MSA initiates this change when it receives an
Appointment       State Change      equipment event stating that the lot processing is
Near Complete                       near complete. The LSA will c hange the status of
                                    the appointment to near complete. It will then
                                    schedule the post control move appointment and
                                    invokes scheduling for the nex process operation if
                                    appropriate.
Shift Lot        Appointment        The LSA will try to move the ot appointment to the
Appointment Left State Change       left, or earlier in time. If it is unable to shift left, the
                               system will cancel all non-active move, load, and
                               unload appointments and then cancels the lot
                               appointment.
Shift Load       Appointment   The LSA will try to move the oad appointment to
Appointment Left State Change  the left. If it is unable to shift eft, the system will
                               cancel all non-active move appointments, cancels
                               unload/load appointments, cancels the lot
                               appointment.
Shift Unload     Appointment   The LSA will try to move the unload appointment to
Appointment Left State Change  the left. If it is unable to shift eft, the system will
                               cancel all non-active move appointments, cancels
                               unload/load appointments, and cancels the lot
                               appointment.
Shift Lot        Appointment   The LSA will check to see if the first appointment is
Appointment      State Change  a move appointment. If it is a move appointment and
Right                          it is not active or on a machine or machine port, it
                               will shift that move appointment to make it arrive at
                               the start of the lot appointmen or load appointment
                               (if the move appointment is active, it will expand the
                               end to the start of the lot appointment or load
                               appointment). It will then shift any preceding
                               appointments to the right. If the system is unable to
                               shift the appointments right, it will cancel all non
                               active move appointments, any load/unload
                               appointment, and the lot appointment.
Shift Load       Appointment   The LSA will check to see if the previous
Appointment      State Change  appointment is a move appointment. If it is a move
Right                          appointment and it is not active or on a machine or
                               machine port, i. will shift that move appointment to
                               make it arrive at the start of the load appointment (if
                               the move appointment is active, it will expand the
                               end to the start of the load appointment). It will then
                               shift any preceding appointments to the right. If the
                               system is unable to shift the appointments right, it
                               will cancel all non-active move appointments, any
                               load/unload appointments, and the lot appointment.
Shift Unload     Appointment   The LSA will shift appointments to the right. If the
Appointment      State Change  system is unable to shift the appointments right, it
Right                          will cancel the ot appointment, which will cancel all
                               move, load, and unload appointments association
                               with the lot appointment.
Shrink Lot       Appointment   The LSA will shrink the lot appointment to the
Appointment      State Change  specified time and shift subsequent move
                               appointments earlier in time.
Shrink Load      Appointment   The LSA will shrink the load appointment to the
Appointment      State Change  specified time.
Shrink. Unload   Appointment   The LSA will shrink the unload appointment to the
Appointment      State Change  specified time.
Unscheduled      Factory State If the current location of the lot is a machine port,
Move Completed Change (AMHS) then the system will cancel all appointments except
                               the lot appointment. The lot appointment will only
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                                 TABLE 3-continued
                        Reactive Scheduling Activities for LSAs
Event            Event Type        Reactive Scheduling Activities
                                   be cancelled if the appointment was for a different
                                   machine. If the appointment was for a different
                                   machine, the LSA will cancel all appointments and
                                   wait for the MSA to invoke override scheduling.
                                   Otherwise, the system will determine how long it
                                   will take for the lot to get back to the next processing
                                   appointment destination. If the lot can still make its
                                   processing start time, then the system will reschedule
                                   the appropriate move appointments. If the lot is
                                   unable to make the start time, it will cancel all move,
                                   load, unload, and lot appointments and will initiate
                                   scheduling.
Update           Appointment       The LSA will update the lot appointment
Commitment       State Change      commitment window appropriately. The
Window For Lot                     commitment window represents the lots earliest start
Appointment                        time and latest delivery time for a given
                                   appointment. The commitment window is updated if
                                   an appointment is processing late and the new end
                                   time exceeds the latest delivery time of the
                                   appointment.
Update Load      Appointment       The LSA will update the load start time and
Time For Load    State Change      remaining load time appropriately on the load
Appointment                        appointment.
Wrong Move       Appointment       If the current location of the lot is a machine port,
Completed        State Change      then the system will cancel all appointments except
                                   for the lot appointment. The lot appointment will
                                   only be cancelled if the appointment was for a
                                   different machine. If the appointment was for a
                                   C    ifferent machine, the LSA will cancel all
                                    ppointments and wait for the MSA to invoke
                                   al
                                   override scheduling. Otherwise, the system will
                                   determine how long it will take for the lot to get back
                                   to the next processing appointment destination. If
                                   the lot can still make its original processing start
                                   time, then the system will reschedule the appropriate
                                   move appointments. If the lot is unable to make the
                                   start time, it will cancel all move, load, unload, and
                                   lot appointments and will initiate scheduling.
Lot Due Date     Factory State     If the lot has a processing appointment active, cancel
Change           Change (MES)      appointments after either current appointment or
                                   following unload appointment (if present). If the
                                   appointment is in "near complete' status and the next
                                   process operation is not a control operation or there
                                   is no next operation in the process, schedule a move
                                   appointment after the current lot processing
                                   appointment. Otherwise, attempt to schedule the
                                   next process operation. If the lot has a move
                                   appointment active and the move is to a machine port
                                   destination, cancel appointments after the following
                                   load appointment (if present) and following lot
                                   processing appointment. Otherwise, cancel all
                                   appointments after the move appointment and
                                   reschedule the current process operation.
                                   If the lot has a feeder appointment active, cancel all
                                   appointments after the feeder appointment and
                                   reschedule the next process operation.
                                   If the lot has a load appointment active, cancel
                                   appointments after the following lot appointment or
                                   load appointment (if present.)
                                   If the lot has an unload appointment active, cancel
                                   appointments after the current time. If the next
                                   operation is not a control operation or there are no
                                   more operations, schedule a move appointment after
                                   the unload appointment. Reschedule for the next
                                   process operation. If no appointments are active,
                                   cancel all future appointments and reschedule current
                                   process operation.
Lot put on Hold Factory State      If lot is processing, cancel appointment after post
                Change (MES)       move appointment. If lot is moving to control
                                   machine port, cancel all appointments after the move
                                   and schedule a move to the nearest stocker as soon as
                                   the lot arrives at the machine port. If unload
                                   appointment is processing, cancel all appointments
                                   after and schedule post move. If feeder appointment
                                   is processing, shrinks and aborts the appointment and
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                                TABLE 3-continued
                       Reactive Scheduling Activities for LSAs
Event           Event Type        Reactive Scheduling Activities
                                  then cancels all appointments after feeder
                                  appointment. If load appointment is processing, it
                                  cancels all appointments after except for the unload
                                  appointment. It will then schedule a post move
                                  appointment.
                                  If the lot has a processing appointment active, and it
                                  is in a status of processing or near complete, it is
                                  allowed to complete. If the next appointment is an
                                  unload appointment, all subsequent appointments are
                                  cancelled and a move is scheduled after the unload.
                                  If the next appointment is a move appointment, it and
                                  subsequent appointments are cancelled and another
                                  move is scheduled. If there are no subsequent
                                     ppointments, a move is scheduled after the
                                     rocessing appointment. If the lot appointment is
                                       ive but not processing or complete, it is shrunk
                                     nd aborted. If the next appointment is an unload
                                     ppointment, subsequent appointments are cancelled
                                     nd a move appointment is scheduled. If the next
                                     ppointment is a move appointment, it is cancelled
                                     nd another move appointment is scheduled. If there
                                     re no next appointments, a move appointment is
                                      heduled.
                                      he lot is in a feeder appointment, it is shrunk and
                                    borted and all subsequent appointments cancelled.
                                      he lot is in a load appointment and it is in a
                                    rocessing status, the subsequent lot processing
                                    ppointment is cancelled. The following unload
                                    ppointment is left and all subsequent appointments
                                  cancelled. A move appointment is scheduled after
                                  the unload appointment (both will later shift earlier
                                  in reaction to appointment changes initiated by the
                                  RSA). If the load appointment is not processing, it
                                  and subsequent appointments are cancelled and a
                                  move appointment is scheduled.
                                  If the lot is in an unload appointment, all subsequent
                                  appointments are cancelled and a move appointment
                                  is scheduled after the unload appointment.
                                  If the lot is in a move appointment and the move has
                                  started, all subsequent appointments are cancelled. If
                                  t he move is to a machine port, a move is scheduled to
                                  Subsequently transport the lot off the machine port.
                                  If the lot is on a move appointment that has not
                                  started, the move appointment is aborted and all
                                  subsequent appointments cancelled.
Process Changed Factory State     If the lot has a processing appointment active, cancel
                Change (MES)      appointments after either current appointment or
                                  following unload appointment (if present). If the
                                  appointment is in "near complete' status and the next
                                  process operation is not a control operation or there
                                  is no next operation in the process, schedule a move
                                  appointment after the current lot processing
                                  appointment. If the appointment is near complete
                                  and the next operation is a control operation, attempt
                                  to schedule the next process operation. If the lot has
                                  a move appointment active and the move is to a
                                  machine port destination, cancel appointments after
                                  the following load and unload appointments (if
                                  present) and following lot processing appointment.
                                  Otherwise, cancel all appointments after the move
                                  appointment and reschedule the current process
                                  operation.
                                  If the lot has a feeder appointment active, cancel all
                                  appointments after the feeder appointment and
                                  reschedule the next process operation as well as any
                                  preceding feeder appointments.
                                  If the lot has a load appointment active, cancel
                                  appointments after the following unload
                                  appointment.
                                  If the lot has an unload appointment active, cancel
                                  appointments after the current time. If the next
                                  operation is not a control operation or there are no
                                  more operations, schedule a move appointment after
                                  the unload appointment. Reschedule for the next
                                  process operation. If no appointments are active,
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                                  TABLE 3-continued
                        Reactive Scheduling Activities for LSAs
Event            Event Type         Reactive Scheduling Activities
                                    cancel all future appointments and reschedule current
                                    process operation.
Process Operation Factory State     The LSA will remove all non-active appointments.
Changed           Change (MES)      The LSA will then check to see if the new process
                                    operation is a control or feeder process operation. If
                                    the process operation is a feeder, then the agent will
                                    schedule the next process operation. If the process
                                    operation is a control and the agent doesn't have an
                                    appointment for this process operation, it will
                                    schedule this process operation.
                                    If the lot has a processing appointment active, cancel
                                    appointments after either current appointment or
                                    following unload appointment (if present). If the
                                    appointment is in "near complete' status and the next
                                    process operation is not a control operation or there
                                    is no next operation in the process, schedule a move
                                    appointment after the current lot processing
                                    appointment. If the appointment is near complete
                                    and the next operation is a control operation, attempt
                                    to schedule the next process operation. If the lot has
                                    a move appointment active and the move is to a
                                    machine port destination, cancel appointments after
                                    the following load and unload appointments (if
                                    present) and following lot processing appointment.
                                    Otherwise, cancel all appointments after the move
                                    appointment and reschedule the current process
                                    operation.
                                    If the lot has a feeder appointment active, cancel all
                                    appointments after the feeder appointment and
                                    reschedule the next process operation as well as
                                     receding feeder appointments.
                                       the lot has a load appointment active, cancel
                                      ppointments after the following unload
                                      ppointment.
                                       the lot has an unload appointment active, cancel
                                     ppointments after the current time. If the next
                                    Operation is not a control operation or there are no
                                    more operations, schedule a move appointment after
                                    the unload appointment. Reschedule for the next
                                    process operation. If no appointments are active,
                                     ancel all future appointments and reschedule current
                                     rocess operation.
Wafer Count      Factory State           he wafer count for a lot decreases, the MSA
Decreased        Change (MES)          hrinks lot appointments on its calendar that have not
                                       e started. The MSA will try to shrink the
                                       ppointment by the proper amount. The MSA
                                       ancels any unstarted lot aappointment that cannot be
                                        runk. The LSA subsequently reacts to the
                                        pointment changes made by the MSA, depending
                                         the what the changes are.
Wafer Count      Factory State           he wafer count for a lot increases, the MSA
Increased        Change (MES)            pands lot appointments on its calendar that have
                                       ot yet started. The MSA will try to expand the
                                       ppointment by the proper amount. The MSA
                                       ancels any unstarted lot aappointment that cannot be
                                         panded. The LSA subsequently reacts to the
                                       ppointment changes made by the MSA, depending
                                       in the what the changes are.
Lot Terminated   Factory State          he system will cancel all appointments for the lot.
                 Change (MES)
Lot Moved In     Factory State      If the lot moves in to a feeder operation that is not
                 Change(MES)        the first feeder operation of the segment, the LSA
                                    will adjust the appointment's end time to equal the
                                    current time plus the process time for that operation.
                                    It will then set an end time alarm. If the feeder
                                    operation is the last feeder, the LSA will replace the
                                    max move appointment with an appropriate move
                                    appointment and updates the remaining transport
                                    time.
Lot Moved Out    Factory State      If the operation that the lot changed from is a feeder
                 Change             operation, the LSA will completely shrink the feeder
                                    appointment and cancel subsequent feeder and
                                    maxMove appointments, and schedule the next
                                    operation and any preceding feeder appointments. If
                                    the operation that the lot changed from is a control
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                                    31                                                           32
                                    TABLE 3-continued
                             Reactive Scheduling Activities for LSAs
Event               Event Type          Reactive Scheduling Activities
                                        operation, no action is taken (next operation would
                                        have been scheduled at near completion). If the
                                        operation the lot changed from is a normal (not
                                        control or feeder) operation, the LSA will schedule
                                        the operation to which the lot changed.
Experimental        Factory State       An ERF includes special instructions on how to
Request Form        Change (MES)        process a particular lot. An ERF may be attached to
(“ERF) Status                           or removed from a lot, and the LSA is notified when
Change                                  this happens. The LSA will notify each lot
                                        processing appointment's MSA and subsequently
                                        react to appointment state changes (if lot no longer
                                        compatible with any future batch appointments in
                                        which it may be participating).
Override Lot        Factory State       A bid request and an appointment change listener are
Appointment         Change              created and returned to the MSA. (This is in
                                        response to an unscheduled lot being placed on a
                                        machine port.)
Machine             Appointment         LSA will determine if it can improve its processing
Advertises a        State Change        appointment for the operation at the new time slot. If
Time Slot                               so, then the LSA cancel the appointment and
                                        publishes a submit bid message in attempt to
                                        reschedule the appointment for the advertised time
                                        slot.



                                            TABLE 4
                    Reactive Scheduling Activities for PM Scheduling Agents
Event                      Event Type            Reactive Scheduling Activities
PM/Qual Appointment        Appointment State The PM appointment is canceled and
Cancelled                  Change                rescheduled.
Expand PM/Qual             Appointment State The MSA initiates this change when the PM
Appointment                Change            appointment is running long. The PMSA will
                                             react to this change by shifting all
                                             appointments to the right of the PM
                                             processing appointment being expanded. The
                                             appointments that cannot be shifted are
                                             canceled and rescheduled. It will then expand
                                              he PM appointment to the specified time.
Make PM/Oual               Appointment State The MSA initiates this change when the
Appointment Aborted        Change            processing of the PM has been interrupted.
                                             The MSA will change the status of the
                                             appointment to aborted. The PMSA will
                                             reschedule the appointment.
Make PM/Oual               Appointment State The MSA initiates this change when the MSA
Appointment Processing Change                     earns the PM has started. The MSA will
                                        change appointment to a processing status.
Make PM/Oual          Appointment State The MSA initiates this change when the PM
Appointment Completed Change            has completed processing and may shrink the
                                        appointment if appropriate. The PMSA will
                                        notify the processing agent, change the status
                                         o completed, and update the last occurrence
                                                 of the PM with the current wafer count on the
                                                 machine or current time.
Make PM Appointment Appointment State The MSA initiates this change when it is time
Active PM/Oual      Change             or the following Qual to start. The PMSA
                                      will change the status of the appointment to
                                                 “active.
Make PM Appointment Appointment State The MSA initiates this change when it
Processing PM/Qual  Change            receives a Factory State Change indicating the
                                      Qual portion of the PM appointment has
                                      started. The PMSA will change the status of
                                      the appointment to processing PM/Qual.
Shift PM/Oual       Appointment State The PMSA will try to move the PM
Appointment Left    Change            appointment to the left. If it is unable to shift
                                      left, the system will cancel the appointment
                                                 and reschedule it.
Shift PM/Oual              Appointment State The PMSA will try to move the PM
Appointment Right          Change            appointment to the right. If it is unable to
                                             shift right, the system will cancel the
                                             appointment and reschedule it.
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                                     TABLE 4-continued
                    Reactive Scheduling Activities for PM Scheduling Agents
Event                     Event Type   Reactive Scheduling Activities
Shrink PM/Oual            Appointment State
                                       The PMSA will shrink the PM appointment to
Appointment               Change       the specified time.
Update Commitment         Appointment State
                                       The PM appointment commitment window is
Window For PM/Oual        Change       updated. The commitment window
Appointment                            represents the PMs earliest start time and
                                       latest delivery time for a given appointment.
Override PM/Oual     Appointment State The PM appointment is cancelled within the
Appointment          Change            calendar if it exist. It will then create a bid
                                       request and appointment change listener and
                                       return it to the MSA. This is in response to
                                       an unscheduled PM being started.
MES Machine Event    Factory State     The PMSA will appropriately update the
Detected             Change            number of occurrences of the event within
                                       any PM or Qual that depends on this event. It
                                       will then schedule any PMs or Quals
                                       triggered by the event occurrence what are
                                       not currently scheduled on its calendar.
Lot Processing       Factory State     The PMSA will reevaluate the commitment
Completed on Machine Change            windows for all PMs or Quals that are
                                                 scheduled based on a count of material
                                                processed. If the commitment window is
                                                invalid, the PMSA will either update the
                                                 commitment window if the PM or Qual is
                                                 scheduled within the new window, or it will
                                                 cancel the existing appointment and
                                                 reschedule within the new window. It will
                                                also schedule any PMs or Quals based on a
                                                count of material processed that have reached
                                                their trigger point and have not been schedule
                                                previously.
Alarm Fired               Alarm Event           The PMSA will schedule any time-based PM
                                                or Qual that has reached its trigger point and
                                                was not previously scheduled.


                                      TABLE 5
              Reactive Scheduling Activities for Resource Scheduling Agents
Event                   Event Type     Reactive Scheduling Activities
Appointment Start       Alarm Event This alarm indicates that the scheduled start time
Time Alarm Fired for                   of the specified load (unload) appointment has
Load (Unload)                          arrived. The resource appointment scheduler will
Appointment                            make the appointment active if it is not active. It
                                       will also create an appointment end time alarm if
                                       needed. The resource appointment scheduler will
                                       inform he processing agent to start processing
                                       the appointment.
Appointment Start       Alarm Event This alarm indicates that the scheduled start time
Time Alarm Fired for                of the s pecified discharge appointment has
Discharge                           arrived. The resource appointment scheduler will
Appointment                            make the appointment active if it is not active. It
                                       will also create an appointment end time alarm if
                                       needed. The resource appointment scheduler will
                                       inform he processing agent to start processing
                                       the appointment.
Appointment End         Alarm Event This alarm indicates that the scheduled end time
Time Alarm Fired for                of the s pecified load (unload) appointment has
Load (Unload)                       arrived. The resource appointment scheduler will
Appointment                         expand the appointment with a percentage (e.g.,
                                       25%) o the originally scheduled duration until a
                                       maximum expansion percentage has been reached
                                       (e.g., 175%). Before expanding the appointment,
                                       the subsequent booked appointments may be
                                       shifted ater in time. A new end time alarm is
                                       then set for the expanded load (unload)
                                       appointment.
Appointment End         Alarm Event This alarm indicates that the scheduled end time
Time Alarm Fired for                of the s pecified charge appointment has arrived.
Charge Appointment                     The resource appointment scheduler will expand
                                       the appointment with a percentage (i.e., 25%) of
                                       the originally scheduled duration until a
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                                TABLE 5-continued
              Reactive Scheduling Activities for Resource Scheduling Agents
Event                   Event Type    Reactive Scheduling Activities
                                      maximum expansion percentage has been reached
                                      (i.e., 175%). Before expanding the appointment,
                                       he subsequent booked appointments may be
                                      shifted later in time. A new end time alarm is
                                     hen set for the expanded charge appointment.
Machine Batch          Appointment The MSA initiates this change when the start time
Appointment            State Change or the corresponding machine batch appointment
Changes. Its Status to              has arrived. The RSA will change the
Active                              corresponding appointment status of the current
                                    charge appointment to active, and a new end time
                                    alarm is set for the activated charge appointment.
Machine Batch          Appointment The MSA initiates this change when the machine
Appointment            State Change batch appointment was actually started. The
Changes. Its State to               charge appointment will still have the active
Processing                          Status.
Machine Batch          Appointment The MSA initiates this change when the
Appointment            State Change processing of the corresponding machine batch
Changes. Its State to               appointment was actually completed. The RSA
Completed                           will change the appointment state of the
                                    corresponding discharge appointment to the
                                    completed status.
Lot Load (Unload)      Appointment The LSA initiates this change when a lot load
Appointment Shifted State Change appointment was shifted to a later time. The RSA
to Later Time                       will rearrange its corresponding load
                                    appointments, and shift other appointments on its
                                    calendar if necessary. If the appointment has a
                                    start time alarm, the alarm update will be
                                    performed.
Machine Batch          Appointment The MSA initiates this change or responding the
Appointment Shifted State Change change from the lot scheduling calendar when a
Right to Later Time                 machine batch appointment was shifted to later
                                     ime. The RSA will shift the corresponding
                                    charge and discharge appointment to later time.
                                    Other appointments on its calendar may also get
                                      shifted.
Machine Batch      Appointment The MSA initiates this change when a machine
Appointment Shrunk State Change batch appointment was shrunk. If the discharge
                                      appointment is no activated, the RSA will shift
                                       he corresponding discharge appointment to
                                      earlier time, otherwise it will shrink the discharge
                                      appointment. The start time alarm or end time
                                      alarm for the disc harge appointment may need to
                                      be updated.
Machine Batch           Appointment The MSA initiates this change when a machine
Appointment             State Change batch appointmen was expanded. If the
Expanded                              discharge appointment is not activated, the RSA
                                      will shift the corresponding discharge
                                      appointment to la er time, other wise it will
                                      expand the discharge appointment. The start time
                                      alarm or end time alarm for the discharge
                                      appointment may need to be updated.
Load Start              Factory State The equipment in erface (“EI) notifies the RSA
                        Change (EI) that a load has started. The RSA reacts depending
                                      on whether the lo s that were loaded were
                                      expected or unexpected. If all the lot are
                                      expected, but load ing order is different from the
                                      appointments on t he calendar, the RSA will
                                      rearrange its load appointment and their
                                      participants.
Carrier Arrived         Factory State The EI notifies the RSA that a carrier has arrived.
                        Change        If it carries the ex pected lot, the RSA will change
                                      the corresponding resource load lot appointment
                                      state to the ready Status.
Load Update             Factory State Upon notification by the EI, if the corresponding
                        Change        load appointment is not the first one in the batch
                                      job, the RSA will first shrink the previous load
                                      appointment, and pull the follow-up load
                                      al ppointment to earlier start time, the appointment
                                      S ate of the previous load appointment will be
                                      changed to the completed status. The end time
                                      alarm for the previous load appointment will be
                                      cancelled. The PMSA will change the next load
                                      al ppointments status to active.
Load Completed          Factory State Upon notification by the EI that a load has
                        Change        completed, the RSA will shrink the corresponding
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                              TABLE 5-continued
            Reactive Scheduling Activities for Resource Scheduling Agents
Event                 Event Type    Reactive Scheduling Activities
                                    load appointment, cancel the end time alarm and
                                    change the appointment state of the last load
                                    appointment to the completed status.
Charge Started        E Event       Upon notification from the EI that charging has
                                    started, the RSA will change the charSe
                                    appointment state to the processing status.
Charge Completed      E Event       Upon notification from the EI that a charge is
                                     omplete, the RSA will shrink the charge
                                       pointment, cancel the end time alarm, and
                                       ange the charge appointment state to the
                                      ompleted status. If there are some follow-up
                                      nload appointments, it will pull the unload
                                      ppointments to earlier start time, and start the
                                        oad appointment.
Discharge Started     E Event       Upon notification from the EI that a discharge has
                                    started, the RSA will change the discharge
                                    appointment state to the processing status.
Unload Started        E Event       Upon notification from the EI that unloading has
                                    started, the RSA will change the first unload
                                    appointment state to the processing status.
Unload Update         E Event       Upon notification from the EI, an unload
                                    appointment is updated. If the corresponding
                                    unload appointment is not the last one in the
                                    unload start event, the RSA will shrink the
                                    corresponding unload appointment, cancel its end
                                    time alarm and change its status to the completed
                                    status. The RSA will then pull the next unload
                                    appointment to earlier time and start processing
                                    the next unload appointment. If the
                                    corresponding unload appointment is the last one
                                    in the unload start event, the RSA will wait for
                                    unload completed event.
Unload Completed      E Event       Upon notification from the EI that an unload has
                                    completed, the RSA will shrink the unload
                                    appointment, cancel its end time alarm and
                                    change the appointment state to the completed
                                    Status.
Unexpected Unload     E Event       Upon notification from the EI that an unload has
Started                             unexpectedly started (i.e., the next ap pointment is
                                    not an unload appointment or the transfer
                                    sequence is different from the scheduled one) the
                                    RSA will change the scheduled unload
                                    appointments, and make the first one active.
                                    Overlapping appointment may get shifted to later
                                    time or cancelled.
Unexpected Load       E Event       Upon notification from the EI that a load has
Started                             unexpectedly started (i.e., the next ap pointment is
                                    not a load appointment or the transfer sequence is
                                    different from the scheduled one), if there is a lot
                                    in the list that is not one of the participant of the
                                    next charge appointment, the RSA passes a lot list
                                    and batch ID to a MSA for appropria e response.
                                    If all the lots are in the next charge a ppointment,
                                    but the transfer sequence is different rom the
                                    schedule appointments, the RSA will reschedule
                                    the load appointments.


   Note that, as booked appointments are shifted, canceled, State aware, and are imbued with Specific goals for which
shrunk, expanded, and rescheduled, the changes can ripple 55 they autonomously initiate behaviors to achieve. Their
through the process flow and, in particular, the calendars. behavior is relatively simple and is partially configurable
Changes are instituted by a Single Software agent, but a through Scripts and properties. The behavior is designed to
changed appointment may be booked on multiple calendars.        achieve Selected goals Such as achieving an assigned lot due
The changes must consequently be communicated to the date, achieving a predefined level of quality, maximizing
other Software agents So they can update their calendars 60 machine utilization, and Scheduling opportunistic preventive
respectively. This is true also of other types of events in the maintenance. The helper class is a class of objects to which
process flow.                                                   various objects that are Software agents 265 delegate various
   In the illustrated embodiment, the invention is imple responsibilities or that provide Some useful Service in the
mented using object oriented programming (“OOP") process flow 100. Publishers and listeners, mentioned above,
techniques, although the invention may be implemented 65 are also helper class objects.
using techniques that are not object oriented. The Software       Thus, Some portions of the detailed descriptions herein
agents 265 are implemented as objects and are intelligent, are presented in terms of a Software implemented process
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involving Symbolic representations of operations on data              4. The method of claim 3, wherein detecting the appoint
bits within a memory in a computing System or a computing ment State change includes detecting at least one of an
device. These descriptions and representations are the means appointment cancellation, an appointment expansion, an
used by those in the art to most effectively convey the appointment Shrinking, an appointment abort, an appoint
Substance of their work to others skilled in the art. The           ment changing Status, an appointment shift, an appointment
proceSS and operation require physical manipulations of override, an transport time update, a load time update, an
physical quantities. Usually, though not necessarily, these unload time update, a lot joining a batch, a lot leaving a
quantities take the form of electrical, magnetic, or optical batch, canceling a lot from a batch, and a commitment
Signals capable of being Stored, transferred, combined, window update.
compared, and otherwise manipulated. It has proven con 1O 5. The method of claim 3, wherein detecting the factory
Venient at times, principally for reasons of common usage, State change includes detecting at least one of detection of a
to refer to these signals as bits, values, elements, Symbols, downtime occurrence; a machine becoming available; a
characters, terms, numbers, or the like.                            PM/Oual being detected; a chamber going down; a chamber
   It should be borne in mind, however, that all of these and       becoming available, a change in machine capabilities, a
Similar terms are to be associated with the appropriate 15 change in machine types, an addition of a process, an
physical quantities and are merely convenient labels applied addition of a process operation; a lot arriving at a machine;
to these quantifies. Unless Specifically Stated or otherwise as a lot proceSS changed, a lot placed on hold, a lot released
may be apparent, throughout the present disclosure, these from hold, a lot priority changed, a lot due date changed, a
descriptions refer to the action and processes of an electronic lot wafer count changed, a lot proceSS operation changed,
device, that manipulates and transforms data represented as and a lot departing a machine.
physical (electronic, magnetic, or optical) quantities within          6. The method of claim 3, wherein detecting the alarm
Some electronic device's Storage into other data Similarly event includes detecting at least one of an alarm firing for an
represented as physical quantities within the Storage, or in appointment Start time and an alarm firing for an appoint
transmission or display devices. Exemplary of the terms ment end time.
denoting Such a description are, without limitation, the terms        7. The method of claim 1, wherein detecting the prede
“processing,” “computing,” “calculating,” “determining.” 25 termined event includes detecting at least one of an appoint
“displaying,” and the like.                                         ment cancellation, an appointment expansion, an appoint
   Note that the Software implemented aspects of the inven ment Shrinking, an appointment abort, an appointment
tion are typically encoded on Some form of program Storage becoming active, an appointment nearing completion, an
medium or implemented over Some type of transmission appointment completing, an appointment shift, an appoint
medium. The program Storage medium may be magnetic ment override, and a commitment window update, detection
(e.g., a floppy disk or a hard drive) or optical (e.g., a compact of a downtime occurrence; a machine becoming available; a
disk read only memory, or “CD ROM'), and may be read PM/Oual being detected; a chamber going down; a chamber
only or random access. Similarly, the transmission medium becoming available, a change in machine capabilities, a
may be twisted wire pairs, coaxial cable, optical fiber, or change in machine types, an addition of a process, an
Some other Suitable transmission medium known to the art. 35 addition of a process operation; a lot arriving at a machine;
The invention is not limited by these aspects of any given a lot proceSS changed, a lot placed on hold, a lot released
implementation.                                                     from hold, a lot priority changed, a lot due date changed, a
   This concludes the detailed description. The particular lot wafer count changed, a lot process operation changed, a
embodiments disclosed above are illustrative only, as the lot departing a machine, an alarm firing for an appointment
invention may be modified and practiced in different but 40 Start time and an alarm firing for an appointment end time.
equivalent manners apparent to those skilled in the art               8. The method of claim 1, wherein notifying the software
having the benefit of the teachings herein. Note that further Scheduling agent of the occurrence includes:
variations not discussed may be employed in Still other               Sending an indication of the occurrence to a publisher;
embodiments. Furthermore, no limitations are intended to              publishing the occurrence from the publisher to a Sub
the details of construction or design herein shown, other than 45         Scribing listener; and
as described in the claims below. It is therefore evident that        calling the Software Scheduling agent from the Subscrib
the particular embodiments disclosed above may be altered                 ing listener.
or modified and all Such variations are considered within the         9. The method of claim 1, wherein reactively scheduling
Scope and Spirit of the invention. Accordingly, the protection the action includes at least one of aborting a Scheduled
Sought herein is as Set forth in the claims below.               50 appointment in progress, canceling a Scheduled appointment
   What is claimed:                                                 before it begins, Scheduling a new appointment; Starting a
   1. A method for Scheduling in an automated manufactur Scheduled appointment; expanding the duration of a Sched
ing environment, comprising:                                        uled appointment, Shrinking the duration of a Scheduled
   detecting an occurrence of a predetermined event in a appointment; shifting a Scheduled appointment; adding new
      process flow;                                              55 processing capabilities, deleting old processing capabilities,
   notifying a Software Scheduling agent of the occurrence; Setting an alarm; canceling an alarm; and changing the Status
      and                                                           of an appointment.
   reactively Scheduling an action from the Software Sched            10. The method of claim 1, further comprising proactively
      uling agent responsive to the detection of the predeter Scheduling an appointment with which the predetermined
     mined event.                                               60   event is associated.
   2. The method of claim 1, wherein detecting the occur      11. The method of claim 10, wherein proactively sched
rence of the predetermined event includes detecting an uling the appointment includes proactively Scheduling the
unplanned event or an unexpected event.                     appointment from the Software Scheduling agent.
   3. The method of claim 1, wherein detecting the occur      12. A computer-readable, program Storage medium
rence of the predetermined event includes detecting an 65 encoded with instructions that, when executed by a
occurrence of one of an appointment State change, a factory computer, perform a method for Scheduling in an automated
State change, and an alarm event.                           manufacturing environment, the method comprising:
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  detecting an occurrence of a predetermined event in a             20. The computing system of claim 19, wherein detecting
    process flow;                                                 the occurrence of the predetermined event in the pro
  notifying a Software Scheduling agent of the occurrence;        grammed method includes detecting an unplanned event or
     and                                                          an unexpected event.
  reactively Scheduling an action from the Software Sched           21. The computing System of claim 19, wherein detecting
    uling agent responsive to the detection of the predeter       the occurrence of the predetermined event in the pro
     mined event.                                                 grammed method includes detecting an occurrence of one of
   13. The program Storage medium of claim 12, wherein            an appointment State change, a factory State change, and an
detecting the occurrence of the predetermined event in the alarm event.
encoded method includes detecting an unplanned event or an 1O 22. The computing System of claim 19, wherein detecting
unexpected event.                                                 the predetermined event in the programmed method includes
   14. The program Storage medium of claim 12, wherein detecting at least one of an appointment cancellation, an
detecting the occurrence of the predetermined event in the appointment expansion, an appointment Shrinking, an
encoded method includes detecting an occurrence of one of appointment abort, an appointment changing Status, an
an appointment State change, a factory State change, and an 15 appointment shift, an appointment override, an transport
alarm event.                                                      time update, a load time update, an unload time update, a lot
   15. The program Storage medium of claim 12, wherein joining a batch, a lot leaving a batch, canceling a lot from a
detecting the predetermined event in the encoded method batch, a commitment window update, detection of a down
includes detecting at least one of an appointment time occurrence, a machine becoming available; a PM/Qual
cancellation, an appointment expansion, an appointment being detected; a chamber going down; a chamber becoming
Shrinking, an appointment abort, an appointment changing available, a change in machine capabilities, a change in
Status, an appointment shift, an appointment override, an machine types, an addition of a process, an addition of a
transport time update, a load time update, an unload time process operation; a lot arriving at a machine; a lot proceSS
update, a lot joining a batch, a lot leaving a batch, canceling changed, a lot placed on hold, a lot released from hold, a lot
a lot from a batch, a commitment window update, detection
of a downtime occurrence, a machine becoming available; a 25 priority      changed, a lot due date changed, a lot wafer count
                                                                  changed, a lot proceSS operation changed, a lot departing a
PM/Qual being detected; a chamber going down; a chamber
becoming available, a change in machine capabilities, a machine,             an alarm firing for an appointment start time and
change in machine types, an addition of a process, an an23.           alarm firing for an appointment end time.
                                                                         The computing system of claim 19, wherein notifying
addition of a proceSS operation; a lot arriving at a machine;
a lot process changed, a lot placed on hold, a lot released the Software Scheduling agent of the occurrence in the
from hold, a lot priority changed, a lot due date changed, a programmed method includes:
lot wafer count changed, a lot process operation changed, a          Sending an indication of the occurrence to a publisher;
lot departing a machine, an alarm firing for an appointment          publishing the occurrence from the publisher to a Sub
Start time and an alarm firing for an appointment end time.             Scribing listener; and
   16. The program Storage medium of claim 12, wherein 35 calling the Software Scheduling agent from the Subscrib
notifying the Software Scheduling agent of the occurrence in            ing listener.
the encoded method includes:                                        24. The computing system of claim 19, wherein reactively
   Sending an indication of the occurrence to a publisher,        Scheduling the action in the programmed method includes at
   publishing the occurrence from the publisher to a Sub least one of aborting a Scheduled appointment in progress,
      Scribing listener; and                                   40 canceling a Scheduled appointment before it begins, Sched
   calling the Software Scheduling agent from the Subscrib uling a new appointment; Starting a Scheduled appointment;
      ing listener.                                               expanding the duration of a Scheduled appointment, Shrink
   17. The program Storage medium of claim 12, wherein ing the duration of a Scheduled appointment, shifting a
reactively Scheduling the action in the encoded method Scheduled appointment; adding new processing capabilities,
includes at least one of aborting a Scheduled appointment in 45 deleting old processing capabilities, Setting an alarm; can
progreSS, canceling a Scheduled appointment before it celing an alarm; and changing the Status of an appointment.
begins, Scheduling a new appointment; Starting a Scheduled          25. The computing system of claim 19, wherein the
appointment; expanding the duration of a Scheduled appoint encoded method further comprises proactively Scheduling
ment, Shrinking the duration of a Scheduled appointment;          an appointment with which the predetermined event is
shifting a Scheduled appointment; adding new processing 50 asSociated.
capabilities, deleting old processing capabilities; Setting an      26. An apparatus for Scheduling in an automated manu
alarm; canceling an alarm; and changing the Status of an facturing environment, the apparatus comprising:
appointment.                                                         means for detecting an occurrence of a predetermined
   18. The program Storage medium of claim 12, wherein the              event in a process flow;
encoded method further comprises proactively Scheduling 55 means for notifying a Software Scheduling agent of the
an appointment with which the predetermined event is                    occurrence; and
asSociated.                                                          means   for reactively Scheduling an action from the Soft
   19. A computing System programmed to perform a                       ware Scheduling agent responsive to the detection of
method for Scheduling in an automated manufacturing                     the predetermined event.
environment, the method comprising:                            60   27. The method of claim 26, wherein the means for
   detecting an occurrence of a predetermined event in a detecting the occurrence of the predetermined event includes
      process flow;                                               means for detecting an unplanned event or an unexpected
   notifying a Software Scheduling agent of the occurrence; eVent.
     and                                                            28. The method of claim 26, wherein the means for
  reactively Scheduling an action from the Software Sched 65 detecting the occurrence of the predetermined event includes
    uling agent responsive to the detection of the predeter means for detecting an occurrence of one of an appointment
     mined event.                                            State change, a factory State change, and an alarm event.
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                            43                                                                 44
   29. The method of claim 26, wherein the means for            appointment      expansion,   an  appointment Shrinking, an
detecting the predetermined event includes means for detect appointment abort, an appointment changing Status, an
ing at least one of an appointment cancellation, an appoint appointment shift, an appointment override, an transport
ment expansion, an appointment shrinking, an appointment time update, a load time update, an unload time update, a lot
abort, an appointment changing Status, an appointment shift, 5 joining a batch, a lot leaving a batch, canceling a lot from a
an appointment override, an transport time update, a load batch, a commitment window update, detection of a down
time update, an unload time update, a lot joining a batch, a time occurrence, a machine becoming available; a PM/Qual
lot leaving a batch, canceling a lot from a batch, a commit being      detected; a chamber going down; a chamber becoming
                                                                available,  a change in machine capabilities, a change in
ment window update, detection of a downtime occurrence; machine types,             an addition of a process, an addition of a
a machine becoming available; a PM/Oual being detected; a process operation;         a lot arriving at a machine; a lot proceSS
chamber going down; a chamber becoming available, a changed, a lot placed
change in machine capabilities, a change in machine types; priority changed, a lotondue    hold, a lot released from hold, a lot
                                                                                               date changed, a lot wafer count
an addition of a process, an addition of a proceSS operation; changed, a lot proceSS operation     changed, and a lot departing
a lot arriving at a machine; a lot proceSS changed, a lot a machine, an alarm firing for an appointment Start time and
placed on hold, a lot released from hold, a lot priority 15 an alarm firing for an appointment end time.
changed, a lot due date changed, a lot wafer count changed,
a lot proceSS operation changed, a lot departing a machine, 34,38.wherein
                                                                        The automated manufacturing environment of claim
                                                                               notifying the Software Scheduling agent of the
an alarm firing for an appointment Start time and an alarm occurrence includes:
firing for an appointment end time.                                Sending an indication of the occurrence to a publisher;
   30. The method of claim 26, wherein the means for               publishing the occurrence from the publisher to a Sub
notifying the Software Scheduling agent of the occurrence             Scribing listener; and
includes:
   means for Sending an indication of the occurrence to a          calling the Software Scheduling agent from the Subscrib
      publisher;                                                      ing listener.
                                                                   39. The automated manufacturing environment of claim
   means for publishing the occurrence from the publisher to 25 34, wherein reactively Scheduling the action includes at least
      a Subscribing listener; and                               one of aborting a Scheduled appointment in progress, can
   means for calling the Software Scheduling agent from the celing a Scheduled appointment before it begins, Scheduling
      Subscribing listener.                                     a new appointment; Starting a Scheduled appointment;
   31. The method of claim 26, wherein the means for            expanding the duration of a Scheduled appointment, Shrink
reactively Scheduling the action includes means for at least ing the duration of a Scheduled appointment, shifting a
one of aborting a scheduled appointment in progress, can Scheduled appointment; adding new processing capabilities,
celing a Scheduled appointment before it begins, Scheduling deleting old processing capabilities, Setting an alarm; can
a new appointment; Starting a Scheduled appointment;            celing an alarm; and changing the Status of an appointment.
expanding the duration of a Scheduled appointment, Shrink 35 40. The automated manufacturing environment of claim
ing the duration of a Scheduled appointment, shifting a 34, further comprising proactively Scheduling an appoint
Scheduled appointment; adding new processing capabilities, ment with which the predetermined event is associated.
deleting old processing capabilities; Setting an alarm; can        41. The automated manufacturing environment of claim
celing an alarm; and changing the Status of an appointment. 33, further comprising at least one of a manufacturing
   32. The method of claim 26, further comprising means for 40 execution System and an automated materials handling Sys
proactively Scheduling an appointment with which the pre tem.
determined event is associated.                                    42. The automated manufacturing environment of claim
   33. An automated manufacturing environment, compris 33, wherein the computing System is at least one of a local
ing:                                                            area network, a wide area network, a System area network,
   a process flow; and                                       45 an intranet, or a portion of the Internet.
   a computing System, including a plurality of Software           43. The automated manufacturing environment of claim
      Scheduling agents residing thereon, the Software Sched 33, wherein the proceSS flow comprises a portion of a
      uling agents being capable of reactively Scheduling Semiconductor manufacturing facility.
      appointments for activities in the process flow respon       44. An automated manufacturing environment, compris
      Sive to a plurality of predetermined events.           50 ing:
   34. The automated manufacturing environment of claim            a plurality of work pieces,
33, further comprising a plurality of publishers and Sub           a plurality of processing Stations through which the work
Scribers capable of detecting an occurrence of one of the             pieces may be processed;
predetermined events in the process flow and notifying one         a plurality of Software Scheduling agents capable of
of the Software Scheduling agent of the occurrence.          55       Scheduling appointments for processing the work
   35. The automated manufacturing environment of claim               pieces through the process Stations, the Software Sched
34, wherein detecting the occurrence of the predetermined             uling agents capable of reactively Scheduling respon
event includes detecting an unplanned event or an unex                Sive to predetermined events.
pected event.                                                      45. The automated manufacturing environment of claim
   36. The automated manufacturing environment of claim 60 44, further comprising a plurality of publishers and Sub
34, wherein detecting the occurrence of the predetermined Scribers capable of detecting an occurrence of one of the
event includes detecting an occurrence of one of an appoint predetermined events in the process flow and notifying one
ment State change, a factory State change, and an alarm of the Software Scheduling agent of the occurrence.
eVent.                                                             46. The automated manufacturing environment of claim
   37. The automated manufacturing environment of claim 65 45, wherein detecting the occurrence of the predetermined
34, wherein detecting the predetermined event includes event includes detecting an unplanned event or an unex
detecting at least one of an appointment cancellation, an pected event.
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                            45                                                                46
  47. The automated manufacturing environment of claim             Sending an indication of the occurrence to a publisher;
45, wherein detecting the occurrence of the predetermined          publishing the occurrence from the publisher to a Sub
event includes detecting an occurrence of one of an appoint           Scribing listener; and
ment State change, a factory State change, and an alarm            calling the Software Scheduling agent from the Subscrib
eVent.                                                                ing listener.
   48. The automated manufacturing environment of claim            50. The automated manufacturing environment of claim
45, wherein detecting the predetermined event includes 45, wherein reactively Scheduling the action includes at least
detecting at least one of an appointment cancellation, an one of aborting a Scheduled appointment in progress, can
appointment expansion, an appointment Shrinking, an 1O celing a Scheduled appointment before it begins, Scheduling
appointment abort, an appointment changing Status, an a new appointment; Starting a Scheduled appointment;
appointment shift, an appointment override, an transport expanding the duration of a Scheduled appointment, Shrink
time update, a load time update, an unload time update, a lot ing    the duration of a Scheduled appointment, shifting a
joining a batch, a lot leaving a batch, canceling a lot from a deleting oldappointment;
                                                                 Scheduled
                                                                               processing
                                                                                           adding new processing capabilities,
                                                                                           capabilities, Setting an alarm; can
batch, a commitment window update, detection of a down 15 celing an alarm; and changing           the Status of an appointment.
time occurrence, a machine becoming available; a PM/Qual           51. The   automated   manufacturing   environment of claim
being detected; a chamber going down; a chamber becoming 45, further comprising proactively Scheduling              an appoint
available, a change in machine capabilities, a change in ment with which the predetermined event is associated.
machine types, an addition of a process, an addition of a          52. The automated manufacturing environment of claim
proceSS operation; a lot arriving at a machine; a lot proceSS 44, further comprising at least one of a manufacturing
changed, a lot placed on hold, a lot released from hold, a lot execution System and an automated materials handling Sys
priority changed, a lot due date changed, a lot wafer count tem.
changed, a lot proceSS operation changed, a lot departing a        53. The automated manufacturing environment of claim
machine, an alarm firing for an appointment start time and 44, wherein the computing System is at least one of a local
an alarm firing for an appointment end time.                  25 area network, a wide area network, a System area network,
   49. The automated manufacturing environment of claim an intranet, or a portion of the Internet.
45, wherein notifying the Software Scheduling agent of the
occurrence includes:
